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                         EXHIBIT M
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    ATM SAFETY: MINIMIZE YOUR RISK     49
Protect Yourself . . .
• Avoid isolated ATMs. Use ATMs in busy areas, if possible.
• Be ready. Have your transactions, deposit envelope and card ready
  before you reach the ATM. Take extra envelopes before you leave
  the ATM for future transactions.
• Look around. Be aware of your surroundings. Do not use an ATM
  if lights are not working, or you notice anything or anyone suspi-
  cious nearby; if you’ve begun your transaction, use the cancel fea-
  ture. After dark, consider bringing a friend along.
• Report suspicious activity immediately. Contact the local police
  or a security officer if you witness any suspicious activity at the
  ATM. If you suspect you’re being followed from an ATM, hurry to a
  busy area and immediately contact the police.
• Guard yourself at the drive-up ATM. Don’t allow yourself to be
  blocked in. Make sure the car in front of you has pulled away com-
  pletely before approaching the ATM. Keep doors locked and win-
  dows closed except to perform your transaction.
• Secure your car. If you must leave your car to use an ATM, never
  leave your car running, the doors open or the keys inside.
• Don’t display cash. Pocket your cash, your card and your receipt
  immediately after an ATM transaction. Count your cash only when       Account Rules and Regulations
  you are certain you are in a secure area.

Protect Your Card . . .
• Protect your PIN. Memorize your Personal Identification Number
  (PIN). Never keep your PIN where it can easily be discovered, such
  as written on your card, in your wallet or in your purse. Stand
  between the ATM and anyone waiting, so nobody can see the but-                Your Guide to:
  tons you push.
• Never give your PIN to anyone. Don’t let others use your card.
  Never give out your PIN or card information to anyone over the                Checking
  phone.
• Keep your card in a safe place. Protect your card the same way
  you would protect cash or a credit card.                                      Savings
• Take your receipt. Your receipt contains confidential information.
  If you don’t need the receipt, destroy it at home.
• Cancel if necessary. If you suspect the ATM is not processing your            Certificates of Deposit
  transaction properly, use the cancel feature on the ATM and find
  another machine.
• Report a lost or stolen card immediately. The sooner you notify               Overdraft Protection
  us that your card is in danger of being misused, the sooner we can
  take precautions to ensure that it is not misused.
  By observing these safety tips, you can minimize your risks while             Privacy Policy
enjoying the convenience of 24-hour ATM banking.

Catalog #41726
(Upstate New York Market)
© 2006 JPMorgan Chase Bank, N.A.
Member FDIC
Effective Date 09/15/2006                                                       (Upstate New York Market)
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Welcome                                49 Table
to Chase!                                                                         of Contents
Thank you for opening your new account with us. You can look                      DEPOSIT ACCOUNT AGREEMENT
forward to getting more value for your money, with accounts and
                                                                                   Personal Accounts
banking packages that reward you with additional privileges the
more you bank with us. At the same time, life will get easier                       — Checking and Banking Packages . . . . . . . . . . . . . .                 3
thanks to our vast network of branches and ATMs, as well as one
                                                                                    — Specialty Checking Accounts . . . . . . . . . . . . . . . . .             9
of the best online banking and bill payment services available
anywhere. That’s what makes Chase such a great place to bank.                       — Savings and CD Accounts. . . . . . . . . . . . . . . . . . . .           12


About this guide
                                                                                    Business Accounts and Services
This guide contains your agreement with us, including complete account              — Checking and Banking Packages . . . . . . . . . . . . . .                14
information; it sets forth your duties to us, and defines certain elections         — Specialty Checking Accounts . . . . . . . . . . . . . . . . .            20
that you made when you opened your account with us.
                                                                                    — Savings and CD Accounts. . . . . . . . . . . . . . . . . . . .           21
Your deposit account is subject to rules that protect both you and
us. This agreement explains these rules and should be read care-
fully by all depositors. Please review and retain it in a safe place
                                                                                    Additional Banking Services
should you need to refer to it in the future.                                       and Fees . . . . . . . . . . . . . . . . . . . . . . . Provided Separately

                                                                                    General Account Terms
Regarding your personal information                                                 and Conditions . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   23
Federal law requires all financial institutions to obtain, verify, and
record information that identifies each person or business that                     Check 21 — Substitute Checks
opens an account.
                                                                                    and Your Rights . . . . . . . . . . . . . . . . . . . . . . . . . . . .    34
• When you open a personal account, we will ask for your name,
   residential address, date of birth and social security number,                   Funds Availability Policies
   which will allow us to verify your identity.
                                                                                    — For Personal Checking Accounts . . . . . . . . . . . . . .               35
• When you open a business account, we will ask for your busi-
   ness name, tax identification number and business address,                       — For Business Checking Accounts . . . . . . . . . . . . . .               36
   which will allow us to verify your business. We may also ask
   for your name, residential address, date of birth and social                     Endorsement Standards . . . . . . . . . . . . . . . . . . . .              39
   security number, which will allow us to verify your identity.
                                                                                    Electronic Funds Transfer Services. . . . . . . . . .                      39
We appreciate your business–and we’ll work hard to prove that
you’ve made a smart decision banking at Chase. If you have
questions, please feel free to call us or visit us online at                      OVERDRAFT PROTECTION
www.Chase.com (Chase.com).                                                        AGREEMENT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .     44


                                                                                  PRIVACY POLICY . . . . . . . . . . . . . . . . . . . . . . . . . . . .       45




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Questions                              49 Address and
and Answers                                                                 Telephone Numbers:
Q |   Where can I find the location of a Chase Branch or ATM                Personal Accounts:
      nearest to me?                                                          Main Phone number:         1-800-935-9935
A |   Use our ATM and Branch Locator on Chase.com to find                     Spanish:                   1-877-31CHASE
      the location nearest you. You can search by city, zip code,                                        (1-877-312-4273)
      street name or any combination of these. Or call us at                Business Accounts:
      1-800-935-9935 and we would be happy to assist you.                     Main Phone number:         1-800-CHASE38
                                                                                                         (1-800-242-7338)
Q |   What should I do if my ATM or debit card is lost or stolen?              Spanish:                  1-888-622-4273
A |   Call 1-800-935-9935 immediately if your card has been lost            Hearing Impaired:            1-800-CHASE TD
      or stolen or if you suspect unauthorized use.                                                      (1-800-242-7383)
Q |   How can I add someone to my personal accounts?                           If you believe your card has been lost or stolen, or for purchase
                                                                            and ATM transactions, call us at the telephone numbers listed
A |   To add an additional owner to your personal accounts, both            above or write.
      signers must visit a local Branch so that the prospective                                 Chase
      co-signer can be identified and your signature card updated.                              Regulation E, TX1-2551
Q |   How do I change my name on my accounts?                                                   Card and ATM Operations
                                                                                                P.O. Box 620002
A |   To change your name on your accounts, please take your                                    Dallas, TX 75262-9802
      updated photo ID and any supporting documents (i.e.,
      marriage certificate, divorce, or other court orders) into your          In case of errors or questions about your electronic funds
      nearest Chase Branch so that your signature card may                  transfers (EFT), call 1-866-564-2262.
      be updated.
Q |   How can I change my type of checking or savings account?              Deposit Account Agreement
A |   It’s important that your accounts suit your needs, and we
                                                                                This agreement governs personal and business deposit ac-
      are here to help. Call us or visit a Chase Branch to speak
                                                                            counts identified in this Deposit Account Agreement at JPMorgan
      with a Banker, who will be happy to review your accounts
                                                                            Chase Bank, N.A. (the “Agreement”). By signing a services appli-
      with you and make any changes. Even if you change your
                                                                            cation, deposit account signature card, or by otherwise opening or
      account type, you’ll keep the same account number.                    maintaining a checking, savings or certificate of deposit (including
Q |   Does Chase offer a checking account for children who are              retirement certificates of deposit) account with us, you accept and
      under 18 years of age?                                                agree to be bound by the terms and conditions of this Agreement.
                                                                            However, if your account is maintained with a business unit of the
A |   Absolutely! To meet your and your children’s unique
                                                                            Bank that provides you a different deposit agreement, or if you con-
      needs, we offer the Chase High School Checking account                tract for services that require your consent to a different deposit
      to individuals age 15-18 with Parent/Guardian as a joint              agreement, your account will be governed by that agreement.
      owner. For more details on this account, please refer to the              As used in this Agreement, “we,” “us,” “our” and the “Bank”
      Specialty Checking Accounts section.                                  mean JPMorgan Chase Bank, N.A. Your “Account” means each
Q |   How does Check Safekeeping work?                                      deposit account you have with us that is governed by this Agree-
                                                                            ment. “You” or “your” means each person or entity in whose name
A |   With Check Safekeeping, all your checks that have been
                                                                            the Account at the Bank is maintained or who exercises an own-
      processed and paid against your account are imaged and
                                                                            ership interest therein, as well as any assignee or successor in
      retained for seven years. You do not get these checks in your         interest to the Account.
      statement with this option, but you can view the check                    This Agreement includes the following disclosures applicable
      images online if you have enrolled your accounts on                   to the Bank’s personal and business deposit accounts that the
      Chase.com.                                                            Bank has provided to you: (i) the Additional Banking Services and
                                                                            Fees, (ii) the rate sheets for interest bearing accounts, and (iii) any
                                                                            additional disclosures regarding your Account that the Bank may
                                                                            provide to you.
                                                                        2
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Personal Checking Accounts and 49
Personal Banking Packages
Chase offers a wide range of accounts
and banking packages to meet your
everyday banking needs.

                                  All our checking accounts feature:
                                  • Free access to more than 7,300 Chase ATMs nationwide
                                  • Free access to over 2,600 convenient branch locations
                                  • Free Chase OnlineSM Banking
                                  • Free personalized voice, text and E-mail Alerts
                                  • Free online check images
                                  • Free online statements
                                  • 24/7 access to your account information
                                  • Debit cards

                                  Except as noted, each checking account:
                                  • Is available only to individuals or unincorporated non-business associations
                                  • Features check safekeeping, unlimited check writing, and free Chase OnlineSM Banking and free
                                    Chase Online SM Bill Payment
                                  • Provides monthly statements


 Chase Banking Packages
                                  Be rewarded for your relationships!

                                  Chase Banking Packages begin with a checking account. Add a savings account or other Chase
                                  account specified below to give you a wealth of special banking privileges.
                                  • Depending on the package you select, link your checking, savings and CD accounts together
                                     for added benefits and services such as:
                                     – Higher interest rates
                                     – Additional accounts with no monthly Service Fee
                                     – And much more!
                                  • Rely on Chase to help make sure all of your money is working together to reach the goals
                                     that matter most to you.




                                                              3
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                               Chase Convenience              on you
                                                   Package lets  FLSDtakeDocket   05/21/2010
                                                                          advantage               Page 6 of
                                                                                     of the ease and
                                                  49
 Chase Convenience Package convenience of direct deposit while you build your financial future.



PRIMARY ACCOUNT:              Chase Free CheckingSM
BENEFITS:                     • Free access to 7,300 Chase ATMs and 2,600 branches nationwide
                              • Free Chase Online Banking including free personalized alerts and free online statements and
                                 check images
                              • Free Chase Check Card
                              • Free enrollment in Chase Visa® Extras Rewards Program
MINIMUM TO OPEN:              $25
MONTHLY SERVICE FEE:          No Service Fee with a monthly direct deposit.
                              Otherwise a $6 monthly Service Fee will apply.
STATEMENT OPTIONS:            • Check Safekeeping required: No fee1
                              • Online statements available at Chase.com: No fee
INTEREST:                     None
KEY PACKAGE ADVANTAGES:       • Link a Chase SavingsSM account to this checking account and also enjoy the
                                 following benefits:
                                 – The Service Fee for this savings account will be waived for the first 12 months from
                                     account opening by establishing automatic monthly transfers of $25 or more from your
                                     Chase checking account
                                 – Receive a combined statement
                                 – Your Chase SavingsSM account can be used for overdraft protection
                              • Chase offers no annual fee credit cards (subject to credit approval) with numerous options,
                                 such as cash back, rewards, travel and more. Link a Chase credit card to your primary
                                 checking account and get the following benefits:
                                 – Transfer funds and make payments to your card online
                                 – Your Chase credit card can be used for overdraft protection




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Case 1:09-md-02036-JLK The
                       Document     509-13
                            Chase Better       Entered
                                          Banking Packageonprovides
                                                             FLSDyouDocket    05/21/2010
                                                                        with convenient,      Page 7 of
                                                                                         everyday
 Chase Better Banking                         49
                       banking services and features. You can choose to link additional Chase accounts,
 Package               including savings, CDs, investments and loans, to help you meet your checking
                       balance qualifiers.

PRIMARY ACCOUNT:             Chase Better Banking® Checking
BENEFITS:                    • Free access to 7,300 Chase ATMs and 2,600 branches nationwide
                             • Free Chase Online Banking including free personalized alerts and free online statements and
                                check images
                             • Free Chase Better Banking Check Card
                             • Free enrollment in Chase Visa® Extras Rewards Program
                             • No fee money orders, official checks and travelers checks
MINIMUM TO OPEN:             $25
MONTHLY SERVICE FEE:         No Service Fee in any statement period in which you:
                                • Maintain a minimum ledger balance of $1,500 or more in this account; or
                                • Keep an average ledger balance of $5,000 or more in this account or a combination of this
                                    account and any qualifying deposit, credit or investment accounts2 linked with this account3
                             Otherwise, a $10 monthly Service Fee will apply.
STATEMENT OPTIONS:           • Check Safekeeping: No fee
                             • Online statements available at Chase.com: No fee
                             • Image Statement: $3 monthly fee4
                             • Check Enclosure: $3 monthly fee4
INTEREST:                    Variable; earn interest each day when the collected balance is $2,500 and over.
KEY PACKAGE ADVANTAGES:      • Link a Chase Money Market SavingsSM account to this checking account and also get the
                                following benefits:
                                – Earn higher interest rates on your Chase Money Market Savings account when linked to
                                    an active Chase Better Banking Checking account5
                                – The Service Fee for this savings account will be waived for the first 12 months from
                                    account opening by establishing automatic monthly transfers of $100 or more from your
                                    Chase checking account
                                – Balances count toward waiving your monthly Service Fee on this checking account
                                – Receive a combined statement
                                – Your savings account can be used for overdraft protection
                             • Earn higher interest rates on your CDs when linked to this checking account.6 For new and
                                renewing CDs, see a Banker to make sure these accounts are linked and to take advantage of
                                this higher interest rate.
                             • Chase offers no annual fee credit cards (subject to credit approval) with numerous options,
                                such as cash back, rewards, travel and more. Link a Chase credit card to your primary
                                checking account and get the following benefits:
                                – Transfer funds and make payments to your card online
                                – Outstanding balances count toward waiving your monthly Service Fee on this
                                    checking account
                                – Your Chase credit card can be used for overdraft protection

                                                          5
Case 1:09-md-02036-JLK One
                       Document     509-13
                           of our best        Entered
                                       packages,        onPremier
                                                 the Chase  FLSD Docket
                                                                  Package 05/21/2010      Page 8 of
                                                                           provides you with
 Chase Premier Package                       49
                       maximum value when combining an interest-earning checking account with your
                       Chase savings, CD, investment, loan and mortgage balances.

PRIMARY ACCOUNT:            Chase Premier CheckingSM
BENEFITS:                   • Free access to 7,300 Chase ATMs and 2,600 branches nationwide
                            • Free Chase Online Banking including free personalized alerts and free online statements and
                               check images
                            •  Free Premier Check Card
                            •  Free enrollment in Chase Visa® Extras Rewards Program
                            •  Free Premier Checks11 or a 50% discount on other personal check styles
                            •  Four non-Chase ATM transactions per statement period with no Chase fee7
                            •  Free small-size Safe Deposit Box8
                            •  No fee money orders, official checks and travelers checks
WHO IS ELIGIBLE:            Available to individuals.
MINIMUM TO OPEN:            $1,000
MONTHLY SERVICE FEE:        No Service Fee in any statement period in which you:
                               • Keep an average ledger balance of $15,000 or more in this account or a combination of
                                   this account and any qualifying deposit, credit or investment accounts2 linked with this
                                   account3
                            Otherwise, a $25 monthly Service Fee will apply.
STATEMENT OPTIONS:          • Check Safekeeping: No fee
                            • Online statements available at Chase.com: No fee
                            • Image Statement: $2 will be added to the monthly Service Fee
                            • Check Enclosure: $2 will be added to the monthly Service Fee
INTEREST:                   Variable; based on daily collected balance.
KEY PACKAGE ADVANTAGES:     • Link multiple Chase Premier SavingsSM accounts to your primary checking account and also
                               get the following benefits:
                               – Earn higher interest rates on your Chase Premier Savings accounts when linked to an
                                   active Chase Premier Checking account5
                               – Monthly Service Fees waived on the Chase Premier Savings accounts
                               – Balances count toward waiving your monthly Service Fee on this checking account
                               – Receive a combined statement
                               – Your Chase Premier Savings account can be used for overdraft protection
                            • Earn higher interest rates on your CDs when linked to this checking account.6 For new and
                               renewing CDs, see a Banker to make sure these accounts are linked, and to take advantage of
                               this higher interest rate.
                            • Receive an optional second Chase Premier Checking account ($100 minimum to open) with no
                               monthly Service Fee when linked to this checking account.
                            • Chase offers no annual fee credit cards (subject to credit approval) with numerous options,
                               such as cash back, rewards, travel and more. Link a Chase credit card to your primary
                               checking account and get the following benefits:
                               – Transfer funds and make payments to your card online
                               – Outstanding balances count toward waiving your monthly Service Fee on this
                                   checking account
                               – Your Chase credit card can be used for overdraft protection

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                        Document      509-13
                             Chase Premier       Entered
                                            Platinum       on FLSD
                                                       Package         Docket
                                                                recognizes       05/21/2010
                                                                             and rewards you withPage    9 of
                                                                                                    the best
 Chase Premier Platinum                         49
                        that Chase has to offer, including special interest rates, discounts, privileges and
 Package                priority service.

PRIMARY ACCOUNT:               Chase Premier Platinum CheckingSM
BENEFITS:                      • Free access to 7,300 Chase ATMs and 2,600 branches nationwide
                               • Free Chase Online Banking including free personalized alerts and free online statements and
                                  check images
                               •  Premium checking interest rates
                               •  Free personal-size checks in any style
                               •  No Chase fee for non-Chase ATM withdrawals7
                               •  No fee for overdraft protection transfers
                               •  Free Premier Platinum Check Card
                               •  Free enrollment in Chase Visa® Extras Rewards Program
                               •  Free stop payment orders
                               •  No fee for money orders, official checks or travelers checks
                               •  No fee for incoming wire transfers
                               •  Free small-size Safe Deposit Box8
                               •  Optional sweep available to tax-advantaged money market mutual fund2
                               •  Free ATM mini statement
WHO IS ELIGIBLE:               Available to individuals.
MINIMUM TO OPEN:               $5,000
MONTHLY SERVICE FEE:           No Service Fee in any statement period in which you:
                                  • Keep an average ledger balance of $75,000 or more in this account or a combination of
                                      this account and any qualifying deposit or investment accounts2 linked with this account9
                               Otherwise, a $35 monthly Service Fee will apply.
STATEMENT OPTIONS:             • Check Safekeeping, Check Enclosure or Image Statement: No fee
                               • Online statements available at Chase.com: No fee
INTEREST:                      Variable; based on daily collected balance.
KEY ADVANTAGES:                • Link multiple Chase Premier Platinum SavingsSM accounts to this checking account and also
                                  get the following benefits:
                                  – Earn higher interest rates on your Chase Premier Platinum Savings account when linked
                                      to an active Chase Premier Platinum Checking account5
                                  – Monthly Service Fees waived on the Chase Premier Platinum Savings accounts
                                  – Balances count toward waiving your monthly Service Fee on this checking account
                                  – Receive a combined statement
                                  – Your Chase Premier Platinum Savings account can be used for overdraft protection
                               • Earn higher interest rates on your CDs when linked to this checking account.6 For new and
                                  renewing CDs, see a Banker to make sure these accounts are linked, and to take advantage
                                  of this higher interest rate.
                               • Receive up to two additional Chase Premier Platinum Checking accounts ($100 minimum to
                                  open) with no monthly Service Fee when linked to this checking account.
                               • Chase offers no annual fee credit cards (subject to credit approval) with numerous options,
                                  such as cash back, rewards, travel and more. Link a Chase credit card to your primary
                                  checking account and get the following benefits:
                                  – Transfer funds and make payments to your card online
                                  – Your Chase credit card can be used for overdraft protection
                                                           7
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                         An exclusive509-13    Enteredespecially
                                      package designed  on FLSD  forDocket 05/21/2010
                                                                    employees of a Chase atPage
                                                                                           Work 10 of
 Chase Workplace Package partner business.     49


 PRIMARY ACCOUNT:            Chase Workplace CheckingSM
 BENEFITS:                   • Free access to 7,300 Chase ATMs and 2,600 branches nationwide
                             • Free Chase Online Banking including free personalized alerts and free online statements and
                                check images
                             • Free first order of Chase at Work checks
                             • Two non-Chase ATM transactions per statement period with no Chase fee7
                             • Free Chase Check Card
                             • Free enrollment in Chase Visa® Extras Rewards Program
 WHO IS ELIGIBLE:            You must be employed by an eligible Chase at Work partner business.
 MINIMUM TO OPEN:            $25
 MONTHLY SERVICE FEE:        No Service Fee with a monthly direct deposit of payroll.
                             Otherwise, a $10 monthly Service Fee will apply.
 STATEMENT OPTIONS:          • Check Safekeeping or Image Statement: No fee
                             • Online statements available at Chase.com: No fee
                             • Check Enclosure: $3 monthly fee4
 INTEREST:                   Variable; earn interest each day when collected balance is $2,500 and over.
 KEY PACKAGE ADVANTAGES:     • Link a Chase SavingsSM account to this checking account and also get the following benefits:
                                – No monthly Service Fee on the Chase SavingsSM account
                                – Receive a combined statement
                                – Your Chase SavingsSM account can be used for overdraft protection
                             • Earn higher interest rates on your CDs when linked to this checking account.6 For new and
                                renewing CDs, see a Banker to make sure these accounts are linked, and to take advantage
                                of this higher interest rate.
                             • Chase offers no annual fee credit cards (subject to credit approval) with numerous options,
                                such as cash back, rewards, travel and more. Link a Chase credit card to your primary
                                checking account and get the following benefits:
                                – Transfer funds and make payments to your card online
                                – Your Chase credit card can be used for overdraft protection




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 Specialty Personal Checking Accounts  49

 Chase offers a variety of specialty
 checking accounts to meet your
 banking needs.

                                       All of these checking accounts:
                                       • Feature a minimum deposit of $25 to open
                                       • Require check safekeeping for new accounts1
                                       • Are non-interest bearing

 High School Checking                  This account gives your children the independence to start managing their money while still giving you
                                       the tools to oversee the process.

 KEY FEATURES:                         • Parent/Guardian has the ability to transfer funds from their account via Chase.com, phone,
                                           ATM or in-branch
                                       • Visa® High School Check Card with spending controls
                                       Note: Chase Online Bill Payment not available on this account.
 WHO IS ELIGIBLE:                      Individuals ages 15-18 with Parent/Guardian as a joint owner. Parent/Guardian must also have a
                                       linked qualifying Chase checking account10 opened in the same geographic region. The student’s
                                       account will convert to Chase Free Checking when he/she reaches 19 years of age.
 MONTHLY SERVICE FEE:                  No Service Fee by maintaining the linked qualifying Parent/Guardian account.
                                       Otherwise, a $10 monthly Service Fee will apply.

 Chase College CheckingSM              This checking account is a smart choice for college students whose Parents/Guardians bank with us.

 KEY FEATURES:                         When the Parent/Guardian maintains a linked qualifying checking account::10
                                       • No fee for Chase Online Bill Payment 12
                                       • Two non-Chase ATM transactions each statement period with no Chase fee7
 WHO IS ELIGIBLE:                      College students age 18-24 at the time of account opening. (Parent/Guardian must also have a
                                       separate qualifying Chase checking account in the same geographic region.) The student’s
                                       account will convert to Chase Free Checking five years after account opening.
 MONTHLY SERVICE FEE:                  No Service Fee for five years in any statement period in which you:
                                       • Link with the qualifying Parent/Guardian checking account; or
                                       • Maintain a daily ledger balance of $0 or greater during the statement period
                                       Otherwise, a $10 monthly service fee will apply each statement period.4
 INACTIVITY FEE:                       $6 monthly fee if there are no customer generated transactions for a period of 180 days and the
                                       account ledger balance is below $250. (Not applicable for accounts opened in Texas
                                       and Wisconsin.)



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                                F O O T 49
                                        NOTES
 1 Accounts transferred into this product type may retain Image Statement or            5 You are eligible for a higher interest rate on linked package savings accounts
   Check Enclosure for a monthly fee of $3.00. A $5,000 monthly average                   as long as your primary checking account in the package remains open and
   ledger balance in this account will waive this fee.                                    active. An active checking account is one that has at least one customer
 2 Securities (including mutual funds and variable insurance products) and                initiated transaction in a monthly statement cycle. The higher interest rate
   investment advisory services are offered through Chase Investment Services             will be applied to your savings account throughout the next statement period.
   Corp. (CISC). Annuities and insurance products are provided by various                 If your primary account is not linked or active, our standard interest rates
   insurance companies and offered through Chase Insurance Agency, Inc.                   will apply to your savings account throughout the next statement cycle.
   (CIA), a licensed insurance agency, and Chase Insurance Agency Services,             6 You are eligible for a higher interest rate on linked CDs or Retirement CDs as
   Inc., a division thereof. CISC, a member of NASD/SIPC, and CIA are                     long as your primary Chase Premier Platinum Checking, Chase Premier
   affiliates of JPMorgan Chase Bank, N.A. Products not available in all states.          Checking, Chase Better Banking Checking or Chase Workplace Checking
                                                                                          account is open at the time your CD opens or renews. If your primary
                           NOT A DEPOSIT                                                  checking account is not linked or open when your CD opens or renews, our
                         NOT FDIC-INSURED                                                 standard interest rates will be applied to your CD for that term. CD rates are
          NOT INSURED BY ANY FEDERAL GOVERNMENT AGENCY                                    not adjusted before maturity.
                   NOT GUARANTEED BY THE BANK                                           7 Usage fee may be charged by the institution that owns the ATM. Additional
                       MAY GO DOWN IN VALUE                                               fees may apply when using an ATM outside of the United States, Puerto Rico
                                                                                          or the U.S. Virgin Islands.
 JPMorgan Funds are distributed by JPMorgan Distribution Services, Inc. –
                                                                                        8 3” x 5” box or smaller for no annual fee; discount on other sizes, subject to
 Member NASD, which is an affiliate of JPMorgan Chase & Co. Affiliates of
                                                                                          availability.
 JPMorgan Chase & Co. receive fees for providing various services to the funds.
                                                                                        9 Qualifying accounts for Chase Premier Platinum Checking include the
 3 Qualifying accounts for Chase Better Banking Checking or Chase Premier
                                                                                          following:
   Checking include the following:
                                                                                          a) Personal checking accounts, personal savings accounts, CDs, certain
   a) Personal checking accounts, personal savings accounts, CDs, certain
                                                                                               Retirement CDs, or certain Chase Retirement Money Market Accounts
      Retirement CDs, or certain Chase Retirement Money Market Accounts
                                                                                               (balances in Chase Money Purchase Pension and Profit Sharing plans do
      (balances in Chase Money Purchase Pension and Profit Sharing plans do
                                                                                               not qualify);
      not qualify);
                                                                                          b) Chase Investment Services Corp. investment accounts (last investment
   b) Outstanding balances in Chase first mortgage accounts (with servicing
                                                                                               statement balance, excluding balances in Chase Money Purchase
      retained by Chase; must be in good standing), lines of credit (including
                                                                                               Pension and Profit Sharing Plans), JPMorgan Funds accounts (prior end
      credit card) and installment loans (lines of credit/loans must be in good
                                                                                               of month balances), annuity products (annuities made available through
      standing);
                                                                                               Chase Insurance Agency, Inc. (CIA) and Chase Insurance Agency
   c) Chase Investment Services Corp. investment accounts (last investment
                                                                                               Services, Inc.), and personal trust accounts (last business day of prior
      statement balance, excluding balances in Chase Money Purchase
                                                                                               month).
      Pension and Profit Sharing Plans), JPMorgan Funds accounts (prior end
      of month balances), annuity products (annuities made available through            10 Qualifying accounts for High School Checking or Chase College Checking
      Chase Insurance Agency, Inc. (CIA) and Chase Insurance Agency                        exclude Chase Access CheckingSM, High School Checking and Chase
      Services, Inc.), and personal trust accounts (last business day of prior             College Checking.
      month).                                                                           11 Premier Checks include Select (Exclusive), Traditional and Guideline.
 4 A minimum $5,000 monthly average ledger balance in this account will waive           12 Optional Online Bill Payment available for $4.95 per month without
   the monthly Service Fee and Image Statement/Check Enclosure Fee for the                 qualifying parent checking account.
   statement period.




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 Personal Savings and CD Accounts49

 Chase savings and CD accounts are
 a safe and predictable way to save.

                                       All savings accounts feature:
                                       • Competitive interest rates
                                       • The opportunity to link your savings and checking together to create a Chase
                                         Banking Package and help you waive monthly Service Fees
                                       • Free Chase Online Banking with free online statements and E-mail Alerts
                                       • The ability to use savings balances for overdraft protection
                                       Except as noted, each of these savings accounts:
                                       • Has a minimum deposit of just $100 to open
                                       • Features a variable rate of interest based on daily collected balances
                                       • Has monthly statements when linked to checking
                                       • Is available only to individuals or unincorporated non-business associations

 Chase SavingsSM                       Whether you’re saving for a vacation, a new car or a rainy day, this is the perfect place to begin.
 KEY FEATURES:                         • Earns interest on all collected balances
                                       • Low minimum balance to avoid monthly Service Fee
 MINIMUM TO OPEN:                      $25
 MONTHLY SERVICE FEE:                  No Service Fee in any statement period in which you:
                                          • Are in a Chase Workplace Package; or
                                          • Maintain a daily ledger balance of $300 or more in this account ; or
                                          • Are under 18 years of age
                                       Otherwise, a $4 monthly Service Fee will apply.
                                       The monthly Service Fee for this savings account will be waived for the first 12 months from
                                       account opening by establishing automatic monthly transfers of $25 or more from your Chase
                                       checking account.
 ADDITIONAL WITHDRAWAL FEE:            First four withdrawals per monthly cycle at no charge; $3 for each withdrawal thereafter.
                                       (Waived for customers under 18 years of age.)
 STATEMENT PERIOD:                     Quarterly (monthly with Electronic Funds Transfer activity)




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 Chase Money Market    Earn interest and write up to three checks per month, all with one convenient account.
                                                  49
 SavingsSM
 KEY FEATURES:         • Competitive, tiered interest rates with higher rates for higher balances in this account
                       • Limited check access
                       • Even higher interest rates when linked to an active Chase Better Banking or Chase
                                   Workplace Checking account as part of a Chase Banking Package
 MONTHLY SERVICE FEE:           No Service Fee in any statement period in which you:
                                   • Maintain a minimum ledger balance of $1,500 in this account
                                Otherwise, a monthly Service Fee of $12 will apply.
                                The Service Fee for this savings account will be waived for the first 12 months from account
                                opening by establishing automatic monthly transfers of $100 or more from your Chase checking
                                account.
 STATEMENT OPTION:              Check Safekeeping required

 Chase Premier SavingsSM        The perfect place for money you want to keep liquid, and keep working hard.
 KEY FEATURES:                  • Tiered interest rates reward you with higher rates for higher balances in this account
                                • Earn even higher interest rates when linked to an active Chase Premier Checking account as
                                   part of a Chase Premier Package
 MONTHLY SERVICE FEE:           No Service Fee in any statement period in which you:
                                   • Are in a Chase Premier Package; or
                                   • Maintain a minimum ledger balance of $10,000 in this account during the monthly
                                      statement period
                                Otherwise, a monthly Service Fee of $15 will apply.

 Chase Premier Platinum         Enjoy the rewards of one of our best savings accounts.
 SavingsSM
 KEY FEATURES:                  • Tiered interest rates reward you with higher rates for higher balances in this account
                                • Maximize your yields by consolidating balances into this account
                                • Earn higher interest rates when linked to an active Chase Premier Platinum Checking
                                   account as part of a Chase Premier Platinum Package
 MONTHLY SERVICE FEE:           No Service Fee in any statement period in which you:
                                   • Are in a Chase Premier Platinum Package; or
                                   • Maintain a minimum ledger balance of $25,000 in this account during the monthly
                                      statement period
                                Otherwise, a monthly Service Fee of $20 will apply.




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 Chase Retirement Money As your balance increases, you
                                                     49earn higher rates – so you can just sit back and watch your
 Market Account         retirement savings grow. Ask your banker about additional Chase Retirement Account options.

 KEY FEATURES:                   • Tiered interest rates to reward higher balances in this account
                                 • Interest is paid on ledger balance
                                 • Additional deposits can be made at any time*
 FEES:                           See below for applicable Retirement Plan Fees.
 STATEMENT PERIOD:               Balance information provided monthly when linked to a checking account. Transaction detail
                                 provided on monthly, quarterly or annual retirement plan statement (as applicable).

 Chase Certificate of Deposit    Earn higher interest rates on a new or renewing Certificate of Deposit when linked to an active checking
 and Chase Retirement            account. See your Banker to make sure these accounts are linked, and to take advantage of this higher
 Certificate of Deposit          interest rate.
 Accounts

 MINIMUM TO OPEN:                The standard minimum deposit amount to open is $1,000.
 FEES:                           See below for applicable Retirement Plan Fees for Chase Retirement Certificate of Deposit
                                 Account(s).
                                 Refer to the General Account Terms and Conditions section for other features regarding these
                                 accounts.



     RETIREMENT PLAN FEES:       IRA Annual Fee
                                 Effective May 1, 2007, a fee of $30 will be charged annually on May 1 (or the first business
                                 day in May) for each Traditional IRA and Roth IRA plan you own unless at least one of the
                                 following applies to such plan as of April 30 (or last business day in April):
                                 • you maintain a Chase checking account in the same market** as the IRA
                                 • a contribution of $1,000 or more is made to the IRA during the last 12 months ending
                                     April 30 (or last business day in April)
                                 • you are a Traditional IRA participant age 701/2 or older and are subject to taking
                                     Required Minimum Distributions from your Traditional IRA
                                 • the balance in the IRA is $10,000 or more (including deposits and investments).
                                 Trustee-to-Trustee Transfer Fee
                                 The fee for a Trustee-to-Trustee Transfer to another institution via a check or ACH is $50. If
                                 the transfer amount requested is less than 100% of the balance of your plan, the applicable
                                 fee will be deducted from your account(s). If the transfer amount requested is equal to 100%
                                 of the balance of your plan, the applicable fee will be deducted from the balance before the
                                 transfer is made.


                                  * The IRS limits the amount you can contribute to your retirement account each year. Check with your
                                    tax advisor for more information on these limits or call us.
                                 ** Market is displayed on your checking account and retirement account statements.


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 Business Checking Accounts and 49
 Business Packages
 Whether you’re an established business
 or just starting up, Chase has business
 checking accounts and packages to
 meet your needs.
                                     Our business checking accounts feature:
                                     • Minimum deposit of $100 to open
                                     • Free Chase Business Check Card
                                     • Chase OnlineSM for Small Business
                                     • Customized statements
                                     • Online tax payment services and payroll payment services – ask us for details

                                     Add new business savings and personal checking accounts with no monthly
  Chase Business Packages            service fee – and make all of your banking more convenient too.

                                     Chase business checking accounts are available as standalone accounts, or you can add other
                                     Chase accounts to create a Chase Business Banking Package that gives you:
                                     • A personal checking account with no monthly Service Fee
                                     • No monthly Service Fee on your linked savings account(s), and interest rate advantages on
                                        business savings and Certificate of Deposit accounts as well



                                     Earn interest on business checking accounts!

                                     If your company is eligible, you can earn interest on most of the business checking accounts
                                     listed. Interest rates are variable, based on daily collected balance and subject to change at
                                     Chase’s discretion.



                                     A note regarding eligibility

                                     • Business checking accounts (non-interest) are available to all businesses
                                     • Business checking accounts with interest are available only to sole proprietors, nonprofit
                                           organizations and government entities, due to Federal regulation




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                         A simple, economical Entered   on FLSDwith
                                                   for businesses Docket 05/21/2010
                                                                    low transaction needs.Page 17 of
 Chase BusinessClassicSM                      49
  Packages


 KEY PACKAGE ADVANTAGES:     • No monthly Service Fee on linked Chase Business Savings accounts
                             • Interest rate advantage on linked Chase Business High Yield Savings accounts and Business CDs
                             • No monthly Service Fee on a linked Chase Better Banking Checking account for your
                                personal use

 PRIMARY ACCOUNT:            Chase BusinessClassic Checking
 KEY FEATURES:               • Right choice for small and growing businesses
                             • Low monthly Service Fee
                             • Low average balance to avoid this fee
 MONTHLY SERVICE FEE:        No Service Fee when you maintain an average ledger balance of $5,000 or more in this
 (WITH STATEMENT OPTIONS)    account during the statement period. Otherwise:
                             $9 with Check Safekeeping
                             $11 with Image Statement
                             $13 with Check Enclosure
 TRANSACTION FEES:           200 free transactions1 per month, $0.40 for each additional.



 PRIMARY ACCOUNT:            Chase BusinessClassic Checking with Interest
 KEY FEATURES:               • Beneficial for sole proprietorships, nonprofit organizations or government entities
                             • Earn interest on your account
                             • Low monthly Service Fee
                             • Low average balance to avoid this fee
 MONTHLY SERVICE FEE:        No Service Fee when you maintain an average ledger balance of $5,000 or more in this
 (WITH STATEMENT OPTIONS)    account during the statement period. Otherwise:
                             $11 with Check Safekeeping
                             $13 with Image Statement
                             $15 with Check Enclosure
 TRANSACTION FEES:           200 free transactions1 per month, $0.40 for each additional.
 INTEREST:                   Variable; based on daily collected balance.




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                        Link all of your       Entered on
                                         BusinessCustom     FLSDaccounts
                                                        Checking   Docketfor
                                                                           05/21/2010      Page
                                                                             greater flexibility and18 of
 Chase BusinessCustomSM                        49
                        convenience and to help minimize fees. Add a Chase Business High Yield
 Packages               Savings account to maximize earnings.

 KEY PACKAGE ADVANTAGES:      • No monthly Service Fee on linked Chase Business High Yield Savings accounts
                              • Interest rate advantages on linked Chase Business High Yield Savings accounts and
                                 Business CDs
                              • No monthly Service Fee on a linked Chase Better Banking Checking account for your
                                 personal use


 PRIMARY ACCOUNT:             Chase BusinessCustom Checking
 KEY FEATURES:                • Earnings credit on your collected deposit balances in checking
                              • Combine your checking balances in multiple BusinessCustom accounts to help waive your
                                 monthly Maintenance Fee
 MONTHLY MAINTENANCE FEE:     No Maintenance Fee when you maintain a combined average collected balance of $15,000 or
 (WITH STATEMENT OPTIONS)     more in this account and other linked Chase BusinessCustom Checking accounts during the
                              statement period. Otherwise:
                              $8 with Check Safekeeping per account
                              $10 with Image Statement per account
                              $12 with Check Enclosure per account
 TRANSACTION FEES:            $0.15 for each check paid or other debit
                              $0.25 for each deposit made or other credit
                              $0.13 for each deposited item
 EARNINGS CREDIT:             Variable; subject to change at Chase’s discretion. It is applied to the monthly average collected
                              balance and used to offset fees for monthly maintenance, transactions, basic cash management
                              and most additional banking services.


 PRIMARY ACCOUNT:             Chase BusinessCustom Checking with Interest
 KEY FEATURES:                • Available to sole proprietors, nonprofit organizations or government entities
                              • Earn interest on your account
                              • Earnings credit on your collected balances in checking
                              • Combine your checking balances in multiple BusinessCustom accounts to help waive your
                                 monthly Maintenance Fee
 MONTHLY MAINTENANCE FEE:     No Maintenance Fee when you maintain a combined average collected balance of $15,000 or
 (WITH STATEMENT OPTIONS)     more in this account and other linked Chase BusinessCustom Checking with Interest accounts
                              during the statement period. Otherwise:
                              $10 with Check Safekeeping per account
                              $12 with Image Statement per account
                              $14 with Check Enclosure per account

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 TRANSACTION FEES:      Document
                        $0.15 for each 509-13
                                       check paid orEntered
                                                     other debiton FLSD Docket 05/21/2010 Page 19 of
                                                   49
                        $0.25 for each deposit made or other credit
                             $0.13 for each deposited item
 INTEREST:                   Variable; based on daily collected balance
 EARNINGS CREDIT:            Variable; subject to change at Chase’s discretion. It is applied to the monthly average collected
                             balance and used to offset fees for monthly maintenance, transactions, basic cash management
                             and most additional banking services. Earnings credit is reduced by the amount of interest paid.

                             A unique package that rewards and recognizes your total Chase relationship,
  Chase BusinessPlus®        both business and personal. Choose from three customized plans to suit your
  Packages
                             specific business checking needs.

 KEY PACKAGE ADVANTAGES:     • No monthly Service Fee on linked Chase Business High Yield Savings accounts
                             • Interest rate advantages on linked Chase Business High Yield Savings accounts and
                                 Business CDs
                             •   No monthly Service Fee on a linked Chase Premier Checking account for your personal use
                             •   Discounts on business credit services – some restrictions apply
                             •   First order of business checks free – some restrictions apply
 ELIGIBILITY:                •   Must have a personal checking account
                             •   Business checking accounts with interest are available only to sole proprietors, and nonprofit
                                 organizations

 PRIMARY ACCOUNT:            Chase BusinessPlus Checking
 KEY FEATURES:               • Three flexible plans – Plus, Extra and Premium – for any size business
                             • Use combined balances in personal and business accounts to eliminate monthly
                                 Maintenance Fee
                             •   Qualify for better rates and pricing on business savings and loans
                             •   Open a Chase Premier Checking account for your personal use with no monthly Service Fee
 MONTHLY MAINTENANCE FEE:    BusinessPlus Checking                       BusinessPlus Checking with Interest
 (WITH STATEMENT OPTIONS)    No Maintenance Fee when you keep a combined average ledger balance of $8,000 or more in this
                             account and other linked Chase BusinessPlus Checking accounts and a combined average ledger
                             balance of $50,000 or more in this account and any qualifying business or personal deposit,
                             credit and investment accounts.2,3 Otherwise:
                             $21 with Check Safekeeping                 $23 with Check Safekeeping
                             $23 with Image Statement                   $25 with Image Statement
                             $25 with Check Enclosure                   $27 with Check Enclosure
                             BusinessPlus Extra Checking                 BusinessPlus Extra Checking with Interest
                             No Maintenance Fee when you keep a combined average ledger balance of $12,000 or more in
                             this account and other linked Chase BusinessPlus Checking accounts and a combined average
                             ledger balance of $100,000 or more in this account and any qualifying business or personal
                             deposit, credit and investment accounts.2, 3 Otherwise:
                             $46 with Check Safekeeping                   $48 with Check Safekeeping
                             $48 with Image Statement                     $50 with Image Statement
                             $50 with Check Enclosure                     $52 with Check Enclosure
                                                         17
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 MONTHLY MAINTENANCE FEE: BusinessPlus Premium49
                                               Checking BusinessPlus Premium
 (WITH STATEMENT OPTIONS)                               Checking with Interest
                        No Maintenance Fee when you keep a combined average ledger balance of $16,000 or more in
                        this account and other linked Chase BusinessPlus Checking accounts and a combined average
                        ledger balance of $300,000 or more in this account and any qualifying business or personal
                        deposit, credit and investment accounts.2,3 Otherwise:
                        $96 with Check Safekeeping                  $98 with Check Safekeeping
                        $98 with Image Statement                    $100 with Image Statement
                        $100 with Check Enclosure                   $102 with Check Enclosure
 TRANSACTION FEES:      BusinessPlus Checking                      BusinessPlus Checking with Interest
                                             1
                        250 free transactions per month, $0.40 for each additional.
                        No cash deposit processing fees for the first $10,000 of cash deposited per month (see Business
                        Deposit Express section for more information).
                        2 free outgoing domestic Wire Transfers per month; 2 free Stop Payments per month; 2 free
                        Overdraft Protection transfers per month.
                        BusinessPlus Extra Checking                BusinessPlus Extra Checking with Interest
                                             1
                        500 free transactions per month, $0.40 for each additional.
                        No cash deposit processing fees for the first $20,000 of cash deposited per month (see Business
                        Deposit Express section for more information).
                        4 free outgoing domestic Wire Transfers per month; 4 free Stop Payments per month; 4 free
                        Overdraft Protection transfers per month.
                        BusinessPlus Premium                       BusinessPlus Premium Checking
                        Checking                                   with Interest
                        1,000 free transactions1 per month, $0.40 for each additional.
                        No cash deposit processing fees for the first $40,000 of cash deposited per month (see Business
                        Deposit Express section for more information).
                        8 free outgoing domestic Wire Transfers per month; 8 free Stop Payments per month; 8 free
                        Overdraft Protection transfers per month.




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                       Access to our509-13
                                     Full arrayEntered  on FLSD Docket
                                                of cash management products05/21/2010     Pageof21 of
                                                                            that make the most
 Commercial Checking   your time and money.   49
  Packages


 KEY PACKAGE ADVANTAGES:     • No monthly Service Fee on linked Chase Business High Yield Savings accounts
                             • Interest rate advantages on linked Chase Business High Yield Savings accounts and
                                Business CDs
                             • No monthly Service Fee on a linked Chase Better Banking Checking account for your
                                personal use


 PRIMARY ACCOUNT:            Commercial Checking
 KEY FEATURES:               • The right choice for businesses with high volumes and cash management needs
                             • Sophisticated cash management services like account reconciliation and controlled
                                disbursement available
                             • Monthly fees can be reduced or eliminated by earnings credit
 MONTHLY MAINTENANCE FEE:    $14
 TRANSACTION FEES:           $0.18 for each check paid or other debit
                             $0.55 for each branch deposit
                             $0.30 for each other deposit or credit
                             $0.16 for each on-us deposited item
                             $0.18 for each not on-us deposited item
 EARNINGS CREDIT:            Variable; subject to change at Chase’s discretion. It is applied to the monthly average collected
                             balance (less reserves) and used to offset fees for monthly maintenance, transactions, cash
                             management and additional banking services.


 PRIMARY ACCOUNT:            Commercial Checking with Interest
 KEY FEATURES:               • Available to sole proprietors, nonprofit organizations or government entities with high
                                volumes and cash management needs
                             • Use with cash management services
                             • Earnings credit offsets monthly and transaction fees
 MONTHLY MAINTENANCE FEE:    $14
 TRANSACTION FEES:           $0.18 for each check paid or other debit
                             $0.55 for each branch deposit
                             $0.30 for each other deposit or credit
                             $0.16 for each on-us deposited item
                             $0.18 for each not on-us deposited item
 INTEREST:                   Variable; based on daily collected balance.
 EARNINGS CREDIT:            Variable; subject to change at Chase’s discretion. It is applied to the monthly average collected
                             balance (less reserves) and used to offset fees for monthly maintenance, transactions, cash
                             management and additional banking services. Earnings credit is reduced by the amount of
                             interest paid.

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 Specialty Business Checking Accounts  49

 Chase Nonprofit              Nonprofit organizations can save on fees with this economical account.
 BusinessClassicSM Checking
 MONTHLY SERVICE FEE:         No Service Fee when you maintain a monthly average ledger balance of $5,000 or more in this
 (WITH STATEMENT OPTIONS)     account during the monthly statement period. Otherwise:
                              $5 with Check Safekeeping
                              $7 with Image Statement
                              $9 with Check Enclosure
 TRANSACTION FEE:             200 free transactions1 per month, $0.40 for each additional.

 IOLTA                        Lawyers Trust Account.
 KEY FEATURES:                • Account provided by state law for lawyers or law firms
                              • No monthly Service or Transaction Fees
 MONTHLY SERVICE FEE:         None
 TRANSACTION FEE:             None
 INTEREST:                    Variable; based on daily collected balance. Interest is paid to the applicable state association or
                              foundation to fund public services.

 Client Funds Checking        Use earnings credit to reduce fees on funds managed in trust.
 KEY FEATURES:                • Ability to link up to 99 Client Funds Savings (sub-accounts) on a consolidated
                                 monthly statement
                              • Checking fees are offset by earnings credit calculated on checking balances
 MONTHLY SERVICE FEE:         $14
 TRANSACTION FEES:            $0.18 for each check paid or other debit
                              $0.55 for each branch deposit
                              $0.30 for each other deposit or credit
                              $0.16 for each on-us deposited item
                              $0.18 for each not on-us deposited item
 EARNINGS CREDIT:             Variable; subject to change at Chase’s discretion. It is applied to the monthly average collected
                              balance (less reserves) and used to offset fees for monthly maintenance, transactions, cash
                              management and additional banking services.




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                                F O O T 49
                                        NOTES
 1 Transactions are all checks paid, other debits, deposits made, other credits        3 Securities (including mutual funds and variable insurance products) and
   and items deposited.                                                                  investment advisory services are offered through Chase Investment Services
                                                                                         Corp. (CISC). Annuities and insurance products are provided by various
 2 Qualifying accounts include checking accounts, savings accounts, CDs,                 insurance companies and offered through Chase Insurance Agency, Inc.
   certain Retirement CDs, certain Chase Retirement Money Market Accounts,               (CIA), a licensed insurance agency, and Chase Insurance Agency Services,
   outstanding balances in Chase first mortgage accounts (with servicing                 Inc., a division thereof. CISC, a member of NASD/SIPC, and CIA are
   retained by Chase; must be in good standing), lines of credit (including              affiliates of JPMorgan Chase Bank, N.A. Products not available in all states.
   credit card) and installment loans (lines of credit/loans must be in good
   standing; certain commercial lines of credit/loans excluded), Chase                                            NOT A DEPOSIT
   Investment Services Corp. investment accounts (last investment statement                                     NOT FDIC-INSURED
   balance, excluding certain retirement plan balances), JPMorgan Funds                          NOT INSURED BY ANY FEDERAL GOVERNMENT AGENCY
                                                                                                          NOT GUARANTEED BY THE BANK
   accounts (prior end of month balances), annuity products (annuities made
                                                                                                              MAY GO DOWN IN VALUE
   available through Chase Insurance Agency, Inc. (CIA) and Chase Insurance
   Agency Services, Inc.), and personal trust accounts (last business day of           JPMorgan Funds are distributed by JPMorgan Distribution Services, Inc. –
   prior month) linked for pricing with this account is maintained during the          Member NASD, which is an affiliate of JPMorgan Chase & Co. Affiliates of
   monthly statement period.                                                           JPMorgan Chase & Co. receive fees for providing various services to the funds.




 Business Savings and CD Accounts

 At Chase, it’s easy to make a
 business savings account an
 integral part of your cash
 management plan.
                                                Our business savings accounts feature:
                                                • Competitive interest rates
                                                • Low average balances to avoid monthly Service Fees
                                                • 24 hour access


 Chase Business SavingsSM                       Start a savings program with this economical account.

 KEY FEATURES:                                  • Low fees and low average balance requirements to avoid monthly Service Fees
                                                • Use account balances as overdraft protection on business checking
 MINIMUM TO OPEN:                               $500
 MONTHLY SERVICE FEE:                           No Service Fee with an average ledger balance of $500 or more in this account during the
                                                statement period or if linked in a BusinessClassic Checking Package.
                                                Otherwise, $5.
 TRANSACTION FEES:                              • $3.00 withdrawal fee for each withdrawal over four (4) per month
                                                • $0.20 deposited item fee for each deposited item over 10 per month
 INTEREST:                                      Variable; based on daily collected balance.


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 Chase Business        Featuring premium interest rates
                                                   49 for business savings accounts.
 High Yield Savings
 KEY FEATURES:            • Tiered interest rates that increase as your balance grows
                          • Limited check writing access
                          • Relationship rates when linked to any business package
 MINIMUM TO OPEN:          $10,000
 MONTHLY SERVICE FEE:     No Service Fee with an average ledger balance of $10,000 or more in this account during the
                          statement period or if linked to a BusinessCustom, BusinessPlus or Commercial Checking
                          Package.
                          Otherwise, $15.
 TRANSACTION FEES:         $0.20 deposited item fee for each deposited item over 30 per month.
 CHECK ACCESS:            Up to 3 per month
 INTEREST:                Variable; based on daily collected balance.


 Client Funds Savings     When linked to a Client Funds Checking account, it simplifies record keeping for funds held in trust.

 KEY FEATURES:            • No fees
                          • Funds accessed only through Client Funds Checking account
 MINIMUM TO OPEN:         $100
 MONTHLY SERVICE FEE:     None
 TRANSACTION FEES:        None
 INTEREST:                Variable; based on daily collected balance.


 Certificate of Deposit   Earn higher interest rates on a new or renewing CD when linked to selected checking accounts.
 Accounts                 See your Banker to make sure these accounts are linked, and to take advantage of this higher
                          interest rate.

                          Refer to the General Account Terms and Conditions section for other features regarding these
                          accounts.




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                                                  andFLSD
                                                       returned.Docket    05/21/2010          Pageto25 you.of
 General Account Terms                                           Refused deposits  will be returned
                                       49 You must not deposit any substitute checks (other than those that
 and Conditions                                                               are deposited return items) unless we specifically agree to accept
                                                                              such deposit. In the event we accept any substitute check for
 Deposits or Cashed Items:                                                    deposit, you agree that such acceptance shall not be deemed to be
     Checks, drafts and other negotiable instruments, including sub-          our agreement to accept any other substitute checks for deposit.
 stitute checks (see the section of this booklet entitled Check 21–           In addition, you will be solely responsible for any loss or liability
 Substitute Checks and Your Rights) (collectively “checks”)                   we sustain in connection with the deposit of substitute checks.
 deposited to your Account or cashed, automated clearinghouse                    We will not give you next day notice of receipt of an electronic
 (“ACH”) entries and all other types of external and book-entry               deposit to your Account but will provide such notice to you on your
 funds transfers (checks and funds transfers collectively referred to         next periodic Account statement. You may call us to confirm an
 herein as “items”), may be charged back against the Account (or              ACH or wire transfer deposit.
 an Account for split deposits) or any other Account of yours at the
 Bank if we are informed that the item is being or has been returned          Credits for Deposits:
 unpaid (or, for checks drawn on other accounts with us, the check                A receipt may be provided or made available upon request for all
 is dishonored by us for any reason), without regard to whether               deposits to your Account (except for remote deposits, e.g., lockbox,
 such return or dishonor is timely. We may charge your Account                night depository services and certain funds transfers). However,
 whether or not the check is returned to us, and whether or not we            the amount on your deposit receipt is based solely on your deposit
 can return the item or a copy to you. Even if we verify a deposited          ticket. Funds from your deposits to your Account may not be made
 or cashed check and tell you that the check has been paid, that will         immediately available. We shall not be construed to have received
 not release your liability as an endorser. This right shall extend to        for deposit checks sent by mail or placed in the night depository
 any check or other item deposited into your Account or cashed,               until we have either received actual delivery from the U.S. Postal
 that is finally paid and then is returned because a claim is made            Service or have removed the checks from the depository. Checks
 that the check or other item was altered, forged, unauthorized, has          placed in such depository will be removed not later than the next
 a missing signature or should not have been paid for any reason.             business day. All deposits made by mail and addressed to a Bank
 In lieu of charging your Account we may withhold an amount equal             location without using a specific branch name and street address
 to such check or other item from your Account until a final deter-           will be considered received by the Bank’s National Bank-By-Mail
 mination of the validity of such claim has been made. We have no             facility in Louisville, KY as of the date such deposit is received by
 duty to return a check that has been charged back to an Account              such facility. For checking accounts, funds will be made available
 if that Account has become overdrawn. We are not required to give            according to Federal Reserve Regulation CC and our Funds Avail-
 you next-day notice if a deposited or cashed item is dishonored.             ability Policy. Credits for all deposits are subject to final verification
     Any check deposited to your Account that lacks an endorse-               and, after review, we may make adjustments to your Account for
 ment may be, or may be deemed to be, endorsed by us on your                  any errors, including any errors appearing on your deposit ticket,
 behalf. With respect to any such check, our rights and your liabil-          but have no obligation to do so for discrepancies under ten dollars.
 ities shall be determined as though you actually endorsed and                In addition, the availability of funds for withdrawal does not mean
 deposited the item. Further, any check deposited to your Account             that the deposited check or other item is “good,” has “cleared” or
 that bears your stamped or facsimile endorsement shall be deemed             has been paid by the paying bank, or that the item will not be
 to bear your actual endorsement whether such endorsement was                 returned unpaid and your Account subsequently debited, notwith-
 affixed by you or by someone having no authority to supply your              standing the passage of any period of time or any representation or
 endorsement. You agree to assume responsibility for and to indem-            belief to the contrary.
 nify us for any loss we may incur as a result of your failure to com-            We need not accept for deposit items drawn on a non-U.S. bank
 ply with the endorsement standards set forth in our Endorsement              or items payable in a foreign currency and may instead accept such
 Standards section of this Agreement.                                         items on a collection basis, even after we have taken physical pos-
     We may rely on the account number on any deposit record                  session of such items. If accepted on a collection basis, we will not
 received, even if the record identifies a party different from the           be obligated to credit your account for such items until we have
 entity identified by name in the record, and we have no duty to              received final payment. The actual credit for items payable in a for-
 detect any such inconsistency in identification.                             eign currency will be at the exchange rate in effect at the time of
     We may return or refuse to accept all or any part of a deposit           final collection in U.S. dollars. Regardless of whether such items
 or credit to your Account at any time and will not be liable to you          are accepted for deposit or on a collection basis, our Funds Avail-
 for doing so even if such action causes outstanding items to be dis-         ability Policy will not apply.
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 Collection of Deposits: Document 509-13 Entered onand
                                            Payment FLSD  Docket
                                                       Deposit      05/21/2010 Page 26 of
                                                               of Checks:
                                         49
     You agree that we act only as your collecting agent in receiv-                 You agree not to issue incomplete, postdated or conditional
 ing items for deposit or collection and assume no responsibility               checks or present them for deposit to your Account. Also, we have
 beyond reasonable care. We will use reasonable care in the selec-              no duty to discover, observe or comply with incomplete, postdated,
 tion of collecting agents but will not be liable in case of their fail-        conditional checks or checks more than six months old, nor shall
 ure or negligence or for losses in transit.                                    we have any liability for accepting for deposit, paying, refusing to
     You agree that we, and each of our correspondents, may send                pay or rejecting any of such items. We may charge a person who
 checks subject to collection, directly or indirectly, to any bank,             cashes your check a fee, or refuse to cash your check, if that person is
 depository, maker or drawee in accordance with our usual custom                not a deposit or loan customer of ours.
 and may accept checks, drafts or credits as conditional payment.                   We have no duty to honor and we may disregard any informa-
     You agree to use reasonable care to assist us in locating or               tion on a check other than the identification of the payor bank and
 obtaining replacements of items lost while in our possession. We               payee, the amount (numeric over words if contradictory) and any
 may agree with other banks and clearing houses to vary proced-                 MICR encoded information, and specifically have no duty to visu-
 ures regarding the collection or return of items, and deadlines to             ally inspect signatures. We may construe as “or” any symbol, mark
 the extent permitted by applicable law.                                        or word (other than the word “and”) used as a connective, or may
                                                                                imply an “or” in the absence of any connective, on the payee line
 Withdrawal Procedures and Limitations:                                         of any check containing multiple payees. In addition, for both per-
                                                                                sonal and business Accounts, we may debit an Account based on
     In accordance with the features of your Account, you agree that
                                                                                a single signature, and a multiple-signature requirement is for the
 we may charge your Account for any withdrawal or transfer that
                                                                                customer’s internal use only, notwithstanding any communication
 you make or authorize another to make. We may, as a condition of
                                                                                to us to the contrary.
 withdrawal, require you to provide us with identification or infor-                You agree that if you utilize an automatic check writing service
 mation acceptable to us and/or your signature on certain with-                 which operates through the use of a personal computer, employ
 drawal documents signed in the presence of our personnel.                      the use of a facsimile signature or do not otherwise provide your
     Federal regulations impose limitations on transfers from sav-              personal signature on a check, you agree that you shall have the
 ings accounts and we are required to monitor your compliance                   sole responsibility for maintaining security of any such computer,
 with them. You may make no more than six (6) preauthorized                     stamp or device by which your signature is affixed and that you
 withdrawals (including, but not limited to, withdrawals made by                shall bear the entire risk of unauthorized use of any such device or
 ACH, telephone, Internet, or wire) monthly, no more than three                 of any facsimile signature that reasonably resembles the signature
 (3) of which may be by check or similar order payable to a third               you use, whether or not you are negligent. You also agree that the
 party, from your savings account. These limitations do not apply               treatment of each check presented against your Account through
 to withdrawals made through Automated Teller Machines, over-                   the use of such a service and our rights and obligations with regard
 the-counter, mail or messenger. We will impose a Savings With-                 to such check will be the same as if the check was signed or initi-
 drawal Limit Fee for each transfer that exceeds these limits. In               ated personally by you. You further agree to indemnify and hold us
 addition this transfer may also invoke a Transaction Fee for Chase             harmless from and against any and all loss, cost, damage, liability
 Savings accounts for having exceeded applicable withdrawal lim-                or expense (including attorneys’ fees) we may suffer or incur as a
 its. If you continue to exceed any transfer limits on your Account             result of the unlawful use, unauthorized use or misuse by any
 after we have notified you of any such transfer violation, we will             person of any such device or of any facsimile signature that rea-
 close your Account and transfer the funds to another deposit                   sonably resembles the signature you use.
 account type selected by us for which you are eligible or eliminate                Your Account may be debited on the day a check is presented
 your Account’s transfer and check privileges.                                  by electronic or other means, or at an earlier time based on notifi-
     For all savings accounts, interest bearing checking accounts               cation received by us that such check drawn on your Account has
 and holding sub-accounts, we reserve the right to require seven (7)            been deposited for collection at the Bank or at another financial
 days prior written notice of withdrawal. In addition, any personal             institution. A determination of your Account balance for purposes
 checking account for which a one time promotional payment to or                of making a decision to dishonor a check for insufficiency of avail-
 for the account is made by us as a premium or other consideration              able funds may be made at any time between the receipt of such
 upon account opening will cause such account to be considered an               presentment or notice and the time of return of the check, and no
 interest bearing checking account for this Agreement (and, for                 more than one such determination need be made. If the Bank dis-
 statutory purposes, a NOW account) and subject to the potential                honors any check, we shall treat any subsequent representment
 seven-day withdrawal notice requirement, even though such                      the same as the original presentment in all respects (including
 account may not accrue interest on a periodic basis.                           imposing an additional Insufficient Funds or Returned Item Fee if
                                                                           24
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 applicable), and shall have no duty toDocument
                                        take any steps509-13
                                                       to prevent Entered
                                                                     assess on   FLSD Docket
                                                                            an additional           05/21/2010
                                                                                           fee for overdraft  balances Page
                                                                                                                        that are27notof
 representments of such checks.                                   49 promptly repaid and/or charge interest for any overdraft on your
                                                                              Account. You agree to pay all costs and expenses, including attor-
 Check and Forms Specifications/                                              ney's fees, incurred by us in the collection of any overdraft.
 Protection of Documents:
     All checks, withdrawal forms, deposit slips and transfer instruc-
                                                                              Returned Item and Insufficient Funds Fees:
 tions used in connection with your Account must be on forms                      Insufficient Funds and Returned Item Fees will be assessed
 obtained through or approved by us. You agree to maintain ade-               based on the number of “Occurrences” in the previous twelve (12)
 quate safeguards to ensure the authorized use of the forms you               months plus the current month. An Occurrence happens any busi-
 retain, and agree to notify us immediately if you become aware               ness day that at least one item is presented or withdrawal request
 that any checks or other forms are lost or stolen. We are not                is made against an account with insufficient funds, whether or not
 responsible for losses you may suffer due to improper printing on            we honor any or all of the items or withdrawal requests. In gen-
 forms not obtained through or approved by us, your failure to main-          eral, the more Occurrences you have on your account, higher fees
 tain adequate safeguards against unauthorized use, or your failure           will be charged on each item. For example, on your second Occur-
 to issue checks in a manner so as to prevent unauthorized comple-            rence you may pay a higher per item fee than you paid on the first
 tion, alteration or addition. You agree that we may refuse to accept         Occurrence.
 for deposit or to process any check or other item that is presented              It is your responsibility to manage your account to avoid hav-
 to it in a form that cannot be processed or photographed using               ing insufficient funds. See a banker to learn about overdraft pro-
 equipment that we regularly use in our normal operations.                    tection options available to you, or see the Overdraft Protection
                                                                              Agreement for specific information about this service. We also
 Insufficient Funds:                                                          offer Personalized Alerts to keep you informed about the balance
                                                                              and transactions in your account.
     We have no obligation to pay or honor any item or withdrawal
 request unless it is drawn or requested against available funds              Specific Terms for Certificates of Deposit:
 credited to your Account at the opening of business on the day the
                                                                                  The standard minimum deposit amount to open a Certificate of
 item is presented for payment or the request is received, even if we
                                                                              Deposit (“CD,” which term shall include Retirement CDs unless
 paid an item or honored a withdrawal request drawn or requested              otherwise identified below) is $1,000. Subsequent deposits are not
 against insufficient funds in the past. If we pay an item or honor           permitted except during the ten-day grace period. By opening your
 your request that overdraws your Account, a deposited item has               CD, you have agreed to keep the funds on deposit for the agreed
 been returned unpaid, or for any other reason your Account has               upon stated term.
 become overdrawn, you agree to pay the amount of the overdraft                   Maturity Conditions. For automatically renewable CDs, your CD
 together with any fee and accrued interest identified in this Agree-         will automatically renew for the same time period as the initial
 ment immediately, whether or not you signed or requested the with-           term, and thereafter for successive like periods of time, with an
 drawal or participated in the transaction creating the overdraft.            interest rate then in effect on the renewal date for like term CD to
     You hereby authorize us to apply any subsequent deposit to the           be applicable during such time period. This will not apply if you
 Account against the amount of any overdraft and resulting fees or            withdraw your funds during the ten-day grace period following the
 charges, including any federal or state benefit payments that you            maturity date. Withdrawals made during the grace period are not
 choose to deposit in any Account (including direct deposit of Social         subject to early withdrawal penalties described below. If your CD
 Security). You understand and agree that if you do not want your             is redeemed during the ten-day grace period, it will not earn inter-
 benefits applied in this way, you may change your direct deposit             est after the maturity date. For single maturity CDs, your CD will
 instructions to the benefits payor at any time.                              not automatically renew on the maturity date. No interest is
     Items will be posted to your Account in highest to lowest dollar         earned or paid after the maturity date.
 amount each business day (Monday through Friday, federal holi-                   Early Withdrawal Penalties. There is a penalty for withdraw-
 days not included). However, certain transactions like wire trans-           ing funds prior to the maturity date. If the term of the CD is less
 fers may be posted before others. We reserve the right to change             than 365 days, the early withdrawal penalty is equal to $25.00
 this posting order without notice. We may assess a fee for any item          plus 1% of the amount withdrawn. For terms of one year or more,
 or withdrawal request, such as a check, in person withdrawal, ATM            the early withdrawal penalty is equal to $25.00 plus 3% of the
 withdrawal, or other electronic means, when there are insufficient           amount withdrawn. If the withdrawal occurs within seven (7) days
 funds in your Account based upon the posting method identified               after the date of deposit, the amount of the early withdrawal pen-
 above, whether or not the item is paid or the request honored, or            alty shall be calculated as above, but in no event shall it be less
 whether or not an overdraft to your account has occurred. We may             than the accrued interest. Early withdrawal penalties may require
                                                                         25
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 a reduction in the principal amount if Document         509-13
                                         the amount of accrued   and Entered    on FLSD
                                                                         • Withdrawal         DocketCD
                                                                                       of a Retirement  05/21/2010        Page
                                                                                                           in a Money Purchase    28 of
                                                                                                                               Pension
 unpaid interest on the deposit is less than the penalty. Early with- 49   Plan or Profit Sharing Plan by a Retirement CD owner for the
 drawal penalties will be waived under the following circumstances:           purpose of a Direct Rollover to a Traditional IRA without moving
 • Withdrawal of accrued or paid interest;                                    funds from the Bank and where no change in terms or rate
                                                                              occurs.
 • Withdrawal due to the death of a CD owner (including Totten
   Trust) or a grantor of a revocable family/living trust;                    *Except during the first seven days following account opening,
 • Withdrawal due to the disability of a CD (excluding Retirement              in which case the penalty must always be applied.
   CD) owner*;
 • Withdrawal due to the disability of a Retirement CD owner;               Stop Payments:
 • Withdrawal due to the judicial determination of legal incompe-               You may stop payment on a check drawn on your Account if we
   tence of a CD owner;                                                     have not accepted, certified, made final payment on or otherwise
                                                                            become accountable for the item. Any joint owner may order us to
 • Re-titling of a CD (excluding Retirement CD) to transfer owner-          stop payment on any check drawn on your Account. To stop pay-
   ship of funds into a living trust without moving funds from the
   Bank and where no change in term or rate occurs;                         ment on a check, please call us at the phone number listed in the
                                                                            Address and Telephone Numbers section.
 • Re-titling of a Retirement CD in a Coverdell Education Savings               You must provide us with the precise Account and check num-
   Account to change beneficial owner without moving the funds              ber/amount to allow us to identify the check based upon our com-
   from the Bank and where no change in term or rate occurs;                puter retrieval system standards. A stop payment order shall
 • Withdrawal by a Retirement CD owner who is 591/2 or older                become effective not later than one full business day after we have
   where the funds are taken as a distribution by the Retirement            received such information, which you agree is a reasonable time.
   CD owner via cash, check, deposit or transfer to a non retirement        If a cashier’s check, teller’s check (“official check”) or certified
   account. Excludes transfers to another financial institution.            check is lost, destroyed or stolen, you may assert a claim to the
   (The withdrawal will be reported to the IRS as a retirement              amount of the check if you give us a declaration of loss statement
   distribution.);
                                                                            in a form acceptable to us and the check has not been presented
 • Withdrawal by a Retirement CD owner who is under age 591/2               for payment for 90 days from the issue date or in the case of cer-
   for these reasons as defined by section 72 (q), (t) or (v) of the        tified checks, from the date of acceptance.
   Internal Revenue Code:                                                       For personal Accounts, an oral or written stop payment order is
   – Payment of health insurance premiums after separation from             effective for 180 calendar days unless renewed orally or in writing
      employment*;                                                          before the 180-day period expires. We will not send a confirmation
   – Payment of medical expenses in excess of 7.5% of the retire-           of your stop payment order. For business Accounts, an oral or writ-
      ment owner’s adjusted gross income*;                                  ten stop payment may be placed for two lengths of time. You may
   – Payment of qualified education expenses*;                              place a stop payment order to be effective for 180 calendar days or
                                                                            you may place a stop payment order to be effective for one year and
   – Payment of first-time home purchase expenses*;                         then renewable annually, at your choice, for six additional years.
   – Payment of retirement funds directly to the IRS due to the             We may send you a written confirmation of your stop payment
      IRS levy*;                                                            order. If any of the information on the confirmation is incorrect, you
   – Substantially equal periodic payments*;                                must notify us within the time period stated on the confirmation. If
 • Withdrawal by a Retirement CD owner who is revoking their                you do not do so, the information will be presumed to be correct.
   Traditional or Roth IRA within seven days of plan establishment          You will receive a 60 to 90 day advance notification of stop pay-
   (must forfeit accrued interest);                                         ments scheduled for renewal on your business Account statement.
                                                                            You may request at that time to discontinue the renewal of a stop
 • Withdrawal from a Retirement CD of an excess annual retire-              payment by indicating the stop payment you wish to revoke and
   ment contribution and any attributable earnings*;
                                                                            returning the notice portion of the statement, with an authorized
 • Withdrawal by a Retirement CD owner converting a Traditional             signature, to the address provided. For personal and business
   IRA contribution to a Roth IRA contribution without moving               Accounts, when the effective period of the stop payment order
   funds from the Bank and where no change in term or rate occurs;          expires, we have no duty or obligation to notify you before we pay
 • Withdrawal by a Retirement CD owner recharacterizing (chang-             the item.
    ing) a Traditional IRA contribution to a Roth IRA contribution              If you stop payment on a check drawn on your Account, you
    or vice versa without moving funds from the Bank and where no           may still be obligated to pay such item to any party entitled to
    change in terms or rate occurs;                                         enforce it pursuant to applicable state law.
                                                                       26
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 Statements:                               checks. on
                                                   If weFLSD
                                                         receive Docket     05/21/2010
                                                                 an electronic                Page
                                                                               image for payment,       29 of
                                                                                                  this image
                                        49 will appear with other cancelled checks on your Image Statement,
 (for Retirement CDs and Retirement Money
                                                                              however the canceled check is not available from us.
 Market Accounts refer to your IRA/CESA or
                                                                                  If you have elected to have your checks returned in your state-
 QRP plan document)                                                           ment for the first checking account listed on your statement, then
     We will maintain appropriate records of your Account. An                 all other checking accounts listed in your statement will require
 Account statement for checking and savings accounts will be sent             Check Safekeeping (for business accounts, you may elect Check
 to you at your current address listed on our books and records on            Enclosure option for all checking accounts). If the first checking
 a monthly basis, unless there has been no deposit or withdrawal              account election is Image Statement, then other checking
 made to the account within a 12 month period, in which case an-              accounts will default to Image Statement, unless Check Safe-
 nual statements will be sent, or unless otherwise specifically indi-         keeping is elected or required by the terms of that account. If the
 cated in the Personal Accounts or Business Accounts and Services             first checking account has Check Safekeeping, then all other iden-
 sections of this Agreement. Statements will be sent via ordinary             tified checking accounts will require Check Safekeeping as well.
 U.S. mail, unless you and the Bank agree otherwise.
     We may change your postal address of record if we receive an             Notification of Errors, Forgeries and
 address change notice from the U.S. Postal Service or if we                  Unauthorized Signatures:
 receive information from another party in the business of provid-
 ing correct address information that the address in our records no           (for Retirement CDs and Retirement Money
 longer corresponds to your address.                                          Market Accounts refer to your IRA/CESA or
     As used in this Agreement, the monthly statement period                  QRP plan document)
 means the time period covered by your Account statement. This                    You agree to reconcile your statement promptly upon receipt. If
 time period may or may not correspond to a calendar month but                we honor a check or other item drawn on or posted to your
 in most cases will not exceed 32 days or be less than 28 days. The           Account that is altered in any way or was not drawn or otherwise
 specific dates covered by your Account statement will be set forth           authorized by you (“unauthorized item”) or if your Account state-
 in the statement.                                                            ment contains any errors, you agree to notify us in writing of such
                                                                              unauthorized item or error within 30 days of the date on which the
 Check Enclosure Options:                                                     unauthorized item, or the Account statement that contained a
    If, at your election or your Account features so require, we              description of the unauthorized item or error, was mailed, trans-
 retain your cancelled checks and do not return them with your                mitted or otherwise made available to you. You must notify the
 Account statement, you acknowledge that the original cancelled               Bank in writing of any unauthorized, improper, or missing endorse-
 checks may be destroyed after a reasonable period of time as deter-          ments within six (6) months after the Account statement is
 mined by us. You agree that by maintaining the original check or a           mailed, transmitted or made available to you. You agree to provide
 copy thereof on your behalf, we have otherwise made the check                us with all information necessary for us to investigate the alleged
 available to you in a reasonable manner. You may request a copy of           error or unauthorized item, associated police reports, supporting
 any cancelled check and a service charge may be imposed for each             affidavits, and testimony we reasonably request. Failure to report
 copy provided. If for any reason we cannot return a copy of your             an unauthorized item or error, or that you did not receive your
 check or satisfy your needs through other means, you agree that we           scheduled statement, within the 30-day time frame set forth above,
 will not be liable for more than the face amount of the check.               or to abide by the conditions set forth herein, shall be deemed
    If available, when we retain your cancelled checks, you may               conclusive proof that you failed to exercise reasonable care and
 request that we include images of the front of your cancelled                promptness in examining the items and statements of the affected
 checks with your statement (“Image Statement”). However, you                 Account and in notifying us of the unauthorized item or error. You
 may elect to neither have your cancelled checks nor images thereof           agree that such items and errors shall therefore be fully enforce-
 included with your statement (“Check Safekeeping”) and unless                able against you and you shall have no claim against us for same
 the terms of your Account require Check Safekeeping, you may                 and shall be barred from bringing any action against us that is in
 elect to have your checks returned with your Account statement               any way related to the unauthorized item or errors.
 (“Check Enclosure”) rather than receiving images thereof.                        Notwithstanding the foregoing, the Electronic Funds Transfer
    Some merchants, utilities and other billers may elect to convert          Services section of this Agreement governs the reporting of errors
 your check into an electronic funds transfer. Since we do not                on consumer electronic funds transfers governed by Federal
 receive your check, neither a canceled check nor its image is                Reserve Board Regulation E. You also have those rights afforded
 available from us. Additionally, we may elect to receive electronic          to you under federal law for substitute checks. Please see the
 images from other banks or financial institutions in lieu of original        Check 21 section of this Agreement for more information.
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 Sub-Accounts:                             balanceson   FLSD
                                                     as set forth inDocket    05/21/2010
                                                                     the product features for yourPage
                                                                                                  Account.30
                                                                                                           Theof
                                        49 collected balance is the balance of all deposits in your Account on
    For accounting purposes, all checking accounts consist of two
 sub-accounts: a transaction sub-account to which all financial                which we have received credit for the deposited funds (determined
 transactions are posted, and a holding sub-account into which                 by the availability schedule of our Federal Reserve Bank for non-
 available balances above a preset level are transferred daily. Funds          cash items). The ledger balance is the balance in your Account
 will be retransferred to your transaction sub-account to meet your            without regard to credit or availability. Interest for Chase Retire-
 transactional needs; however, all balances in the holding sub-                ment Money Market Accounts with interest distributions will not
                                                                               compound and will credit on the distribution date. For all other
 account will be transferred to the transaction sub-account with the
                                                                               interest bearing Accounts, interest is credited and compounded
 sixth transfer in any calendar month or monthly statement period.
                                                                               monthly. On personal Accounts, interest is computed on a 365-day
    Both sub-accounts are treated as a single account for purposes
                                                                               basis. We reserve the right not to pay interest on any deposited
 of your deposits and withdrawals, access and information, tax
                                                                               item that is returned to us unpaid.
 reporting, fees, etc.
                                                                                  The interest rate and annual percentage yield applicable to
                                                                               your Account on the date your Account is opened will be set forth
 Linked Accounts:                                                              on a separate “rate sheet” or other interest rate disclosure pro-
     For checking and savings accounts, you may elect to have                  vided to you when your Account is opened. That interest rate dis-
 these accounts appear on a single statement. Many checking                    closure is considered a part of this Agreement.
 accounts permit you to link other accounts you may have with us
 or our affiliates to help waive the monthly Service Fee for that              Certificates of Deposit
 checking account based upon the balances you keep in those other                We use the daily balance method to calculate interest on your
 accounts. These other accounts need not be included on your                   CD. This method applies a periodic rate each day to the principal
 statement for those pricing benefits to apply. However, if you have           balance. Interest begins to accrue on the business day you deposit
 multiple checking accounts listed on your statement, pricing ben-             cash or non-cash items. Interest for CDs is calculated on a 365-day
 efits shall only apply for the first checking account listed. In addi-        basis, although some business CDs may calculate interest on a 360-
 tion, balances held in any particular account may only be used for            day basis. The APY disclosed on the face of your Deposit Receipt,
 pricing benefits applied for one checking account. Note: we will              which is considered part of this Agreement and, if applicable, on
 not automatically place accounts on one combined statement or                 the maturity notice, assumes interest will remain on deposit until
 link accounts for pricing; you must take authoritative action to              maturity. On maturities of more than one year, interest will be paid
 do so.                                                                        at least annually. The amount(s) paid (or accrued, if interest is
     Since accounts with at least one common owner can be included
                                                                               payable at maturity) will be reported to the IRS each calendar year
 on an account statement, you agree that information regarding your
                                                                               (excludes Retirement CDs). A withdrawal will reduce earnings.
 Account may be made available to any other owner on any of the
 accounts that are identified on that statement.                               Record Retention:
 Interest:                                                                         We shall abide by federal and applicable state record retention
                                                                               laws and may dispose of any records that have been retained or
 Checking and Savings Accounts                                                 preserved for the period set forth in these laws. Any action by or
    Your Account, if designated as interest bearing, will be a vari-           against us based on, or the determination of which would depend
 able rate account on which we may change the interest rate and                on, the contents of records for which a period of retention or pres-
 annual percentage yield from time to time at our discretion with-             ervation is set forth in these laws shall be brought within the time
 out notice to you. We do not impose a limit on the amount the                 for which the record must be retained or preserved, unless appli-
 interest rate and annual percentage yield on your Account may                 cable law provides a shorter limitation period. Any action against
 change. If you have requested your Account not to accrue inter-               us on an automatically renewable CD must be brought within the
 est on a periodic basis, we will not establish or maintain an inter-          retention period applicable to that CD based on the stated maturity
 est rate for the Account until such time as you have requested the            date in the most recent record evidencing the existence and term
 Account to begin earning interest.                                            of the CD.
    Interest begins to accrue no later than the business day we
 receive credit for the deposit of non-cash items. For purposes of             Fees and Service Charges:
 accruing interest, we use the daily balance method. This method                   You agree to pay the monthly service fee, transaction fees, fees
 applies a daily periodic rate to the principal balance in your Ac-            or interest charges for insufficient funds and stop payments, and
 count each day, which may be based either on collected or ledger              all other applicable service charges or fees identified herein as
                                                                          28
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 applicable to your Account, or which Document
                                      may be otherwise509-13
                                                         mutually Entered    on FLSD
                                                                     of that joint owner orDocket
                                                                                            to a court05/21/2010
                                                                                                       or governmentalPageagency 31
                                                                                                                                  uponof
 agreed upon by you and the Bank. You authorize us to charge your 49 receipt of a garnishment order, tax levy or similar legal process
 Account for these fees and service charges at any time whether               identifying any one of the joint owners.
 or not such fees or charges will result in an overdraft of your                  All joint owners will be jointly and severally liable for all over-
 Account or, where there are not sufficient funds in your Account             drawn accounts, whether or not that particular owner initiated a
 to cover your fees and service charges, to bill you separately. You          withdrawal request or other transaction drawn against insufficient
 acknowledge and agree that the funds in your Account used to                 funds which we honored, withdrew funds credited to an account
 pay such fees and service charges may include any federal or                 which were made available based upon a deposited item which
 state benefit payments that you choose to deposit in any Account             was subsequently returned unpaid, or whether such owner
 (including direct deposit of Social Security). You understand and            received benefit from a transaction which resulted, directly or
 agree that if you do not want your benefits applied in this way, you         indirectly, in such overdraft.
 may change your direct deposit instructions to the benefits payor                We may refuse to accept items for deposit or to pay with-
 at any time.                                                                 drawals on the signature of any one of several joint account own-
                                                                              ers if we receive a written request not to do so from any joint
 Form of Account Ownership:                                                   account owner. After we receive such written request, we may
 Personal Accounts                                                            refuse to honor any check, draft or demand upon the account by
     Where only one individual is designated or appears on a signa-           any of the joint account owners, including the one providing the
 ture card as the owner of such account, then we may treat the                request to us, unless all of the joint account owners concur in the
 Account as a solely owned account. In the event of your death or             withdrawal of funds from the account. In the event we receive
 adjudication of incompetence or interdiction, you agree that we              such a written request, we shall be relieved of any and all liability
 have the right to honor checks or other items drawn against your             to every joint account owner for failure or refusal to honor any
 Account until ten days after we receive actual written notice of             check, draft or other demand for payment or withdrawal unless all
 your death, incompetence or interdiction.We may restrict access to           of the joint account owners join in the drawing or other request.
 your account upon notice of your death or adjudication of incom-             This shall not affect transactions previously completed. Each joint
 petence or interdiction until the appropriate documentation rea-             owner appoints each of the others as his/her agent and attorney in
 sonably requested by us, including a death certificate, is provided          fact with power to endorse and deposit items payable to him/her in
 by your executor, administrator or other representative of your              the joint account. If you establish a joint account without the sig-
 estate or person. To the extent and under the circumstances per-             nature of the other joint owner, you agree to hold us harmless for
 mitted by the laws of the state listed on the front of this booklet,         our reliance upon your designation of the other as a joint owner.
 upon receipt of actual written notice and proof of your death, the               If you have opened the account as a Representative Payee for
 balance in your Account will be paid to the person or entity you             receipt of certain federal benefits on behalf of a beneficiary, you
 designate to “pay on death” (“POD”) or you designate as a POD                agree that you will cause to be deposited into the Account only
 payee or beneficiary on your Account’s signature card or on a                those benefits payable to the beneficiary. The Bank is neither obli-
 form provided by us.                                                         gated to ensure that only those eligible federal benefits are
     Unless your signature card or account opening documents so               deposited into the Account, nor does it have a duty to determine
 designate, where two or more individuals are designated or appear            whether any withdrawals or transfers from the Account are for
 on a signature card as owners of such Account, then as between               the benefit of the beneficiary. If the beneficiary dies, you agree to
 them, we will treat the owners as joint tenants with rights of sur-          (a) promptly notify the Bank, (b) no longer permit further deposits
 vivorship. For any joint account where a joint owner has died, we            to the Account, (c) promptly notify the Bank if any such deposits
 reserve the right not to release funds in the account until all legal        are made, and (d) maintain sufficient available balances in the
 documents are delivered to us. You agree to notify us of the death           Account from which any benefit payments may be reclaimed by
 of any joint owner and to reimburse us for any tax we may be                 the applicable U.S. Government agency. If the Bank is unable to
 required to pay by reason of our payment or release of funds in the          debit the Account or if there are insufficient available funds in the
 account to you.                                                              Account from which to debit the full amount of any reclamation
     Any joint owner may close the account. We may, at our sole               by the government, you authorize the Bank to offset any account
 discretion, act upon such other instructions of any joint owner,             owned by you or the beneficiary for any amounts reclaimed by the
 including withdrawing funds or adding a signatory to the account,            applicable U.S. Government agency.
 without the signature of the other joint owner. However, we are                  If the account is opened as an estate account, trust account,
 under no obligation to observe such instruction, and may do so or            guardianship or conservatorship account, or other similar type of
 refuse to do so without liability. We may also pay all or any part           account, we reserve the right to require such documents or auth-
 of the funds in the account to any of the joint owners upon request          orizations as we may reasonably deem necessary or appropriate
                                                                         29
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 to satisfy                            Document
            us that the person requesting   or directing509-13
                                                          the with- Entered
                                                                       account on  FLSD
                                                                               of the       Docket
                                                                                      business without 05/21/2010
                                                                                                       endorsement or may Page
                                                                                                                             supply32theof
 drawal of funds held in the account has the authority to withdraw  49 endorsement of the business. The person(s) so designated is auth-
 such funds. We shall be held harmless for refusing to pay or                  orized to sign any and all checks, drafts and orders drawn against
 release funds in the account where such refusal is based on the               any designated account(s) of the business at the Bank. We are
 failure of the person requesting or directing the withdrawal to               authorized to honor and pay all checks, drafts and orders when so
 provide documents or authorizations requested by us. If you                   signed or endorsed without inquiry as to the circumstances of
 establish your account as “in trust for” (“ITF”) or as trustee for a          issue or disposition of the proceeds even if doing so causes an
 third person without presenting formal trust documents, then we               overdraft or increases an overdraft and regardless of to whom
 may treat the account as a Totten Trust account or as otherwise               such instruments are payable or endorsed, including those drawn
 required by the laws of the state listed on the front of this book-           or endorsed to the individual order of any such person so listed.
 let. If you have opened an account as custodian for a minor bene-                  In addition, each eligible signer is authorized to act for and on
 ficiary under a state’s Uniform Transfers/ Gifts to Minors Act, you           behalf of the business in any matter involving any Account of the
 will not be allowed to pledge the account as collateral for a per-            business, including the authority to instruct us to close the
 sonal loan to you or cash checks against the account, except as               Account, and is further authorized to sign and implement for and
 otherwise permitted by law. Notwithstanding anything to the                   in the name on behalf of the business, as they, or any of them see
 contrary, the relationship between you and the Bank is one of                 fit, the terms of all agreements, instruments, drafts, certificates,
 debtor/creditor, not fiduciary, even if the account is titled as a            or other documents relating to any depository accounts or other
 “fiduciary” account with that role being played by you.                       business including, but not limited to, night depository agree-
     You agree that if your Account is identified as one offered only          ments, funds transfer agreements or safe deposit agreements.
 to individuals or unincorporated nonbusiness associations, it shall
 not be used for a business purpose.                                           Telephone Requests:
                                                                                   You agree that funds in any of your Accounts with us can be
 Business Accounts                                                             transferred, upon the telephone request of any signer on the
     Where a corporation, unincorporated association or limited lia-           Account, to another account with us or to any other financial
 bility company, partnership, including a limited partnership, lim-            institution. We shall not be responsible for any loss incurred as a
 ited liability partnership, or joint venture, government entity or            result of our acting upon or executing any request, order or
 sole proprietor (collectively, the “business”) is designated or               instruction we believe to be genuine. Furthermore, we may refuse
                                                                               to execute any telephone request or order.
 appears on a signature card as the owner of such account, then
 the account is payable only to or on the order of the business, and
 not to any individual director, shareholder, member or partner
                                                                               Recording Telephone Conversations:
 thereof except as they may be a payee on a check or other item                  You understand and agree that, for our mutual protection, we
 drawn on your Account. You further represent and agree that the               may tape-record any of our telephone conversations.
 business has taken all action necessary to open and maintain
 banking accounts at the Bank and that all resolutions and/or                  Electronic Communication:
 other documentation delivered to us in connection with the                       Any communication contemplated by this Agreement may be
 account are true, accurate, complete, and will be kept up to date             delivered by electronic means if you have agreed to electronic
 and may be conclusively relied upon by us. You agree to notify us             notices rather than via US mail or other means to the extent per-
 in advance of any change in your form of ownership. You also                  mitted by law.
 agree that we are not obligated to cash checks payable to you or
 to accept “less cash” deposits. Notwithstanding anything to the               Powers of Attorney:
 contrary, the relationship between you and the Bank is one of                     If you wish to designate an attorney-in-fact, you must do so in
 debtor/creditor, not fiduciary, even if the account is titled as a            a form acceptable to us. Subject to the laws of the state listed on
 “fiduciary” account with that role being played by you.                       the front of this booklet, we reserve the right to refuse to honor
     You agree that each eligible signer is authorized to endorse for          any Power of Attorney presented to us, as well as to refuse to rec-
 collection, deposit, or negotiation any and all checks, drafts, notes,        ognize a successor attorney-in-fact at any time, whether or not the
 bills of exchange, certificates of deposit, and orders for the pay-           successor attorney-in-fact is specifically identified in the Power of
 ment or transfer of money between accounts at the Bank and other              Attorney. In addition, we reserve the right to refuse to follow the
 banks, either belonging to or coming into the possession of the               instruction of an attorney-in-fact to designate the attorney-in-fact
 business. Endorsements “for deposit” may be written or stamped.               as a joint account holder, ITF beneficiary, or POD beneficiary to
 We may accept any instrument for deposit to any depository                    the Account. You agree that we are authorized, but not required, to
                                                                          30
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 honor a1:09-md-02036-JLK              Document
         Power of Attorney until we receive            509-13
                                            written notice from you Entered
                                                                       drawer’son  FLSD
                                                                                death,        Docket
                                                                                       or if any         05/21/2010
                                                                                                 joint owner                Page
                                                                                                             is indebted to us at the33
                                                                                                                                      timeof
 that you have revoked the Power of Attorney or until the Power of  49 of his or her death, we are authorized to pay such checks and
 Attorney has been revoked as a matter of state law.                             withdrawals and exercise our right of set-off against the Account
                                                                                 after such joint owner’s death, notwithstanding any rights that a
 Adverse Claims:                                                                 surviving joint owner, a POD payee or a beneficiary of an ITF or
     Upon receipt of oral or written notice from any party of a claim            “trustee for” account may have to funds in the Account.
 regarding the Account, we may place a hold on your Account and
 shall be relieved of any and all liability for our failure or refusal to        No Waiver:
 honor any item drawn on your Account or any other withdrawal                        No failure by us to exercise any right will be taken as a waiver
 instruction. We may file an action in interpleader with respect to              of that right or any other right, and we may still enforce all of our
 any Account where we have been notified of disputed claims to                   rights in the future.
 that Account. If any person asserts that a dispute exists, we are
 not required to determine whether that dispute has merit in order
 to refuse to honor the item or withdrawal instruction, or to inter-
                                                                                 Closing Your Account:
 plead any funds in the Account.                                                      Either you or the Bank may close your Account at any time
                                                                                 with or without cause. We may automatically close your Account
 Legal Proceedings and Expenses:                                                 if it reaches a zero balance. Any closed account may be automatic-
                                                                                 ally reopened if we receive a deposit to the Account. If we close
    We may restrict the use of your Account if the Account is
                                                                                 your Account, we may send you written notice that the Account is
 involved in any legal proceeding or if we reasonably deem such
                                                                                 closed on the date it closes your Account. We will return the bal-
 action necessary to avoid a loss. All expenses incurred by us as a
                                                                                 ance in your Account less any fees or service charges, claims, set-
 result of any legal proceeding affecting your Account including,
                                                                                 offs or other amounts you owe us. After your account is closed, we
 but not limited to, court costs and attorney fees, may be charged
                                                                                 have no obligation to accept deposits or pay any outstanding
 against your Account or billed to you separately.
                                                                                 checks. You agree that we shall be relieved of any and all liability
                                                                                 for refusing to honor any check drawn on a closed Account. We
 Set-Off:                                                                        have the right to advise consumer reporting agencies and other
     You agree that we may, without prior notice or demand, apply                third party reporting agencies of accounts closed for misuse.
 or set off the funds in your Account at any time to pay off any debt,
 whether direct or indirect, you have with us or any of our affiliates           Change in Account Agreement:
 and/or any fees or service charges owed to us, and you grant us a
 security interest in each Account to secure such debt, as it may                    We may change the terms of this Agreement, including any fees
 arise. You expressly agree that such rights extend to any Federal or            or features of your Account, upon notice sent to you via ordinary
 state benefit payments (including without limitation Social Security            U.S. mail at least 30 calendar days prior to the effective date of the
 benefits) electronically deposited into your Account. You understand            change; provided however, for automatically renewable CDs, no
 and agree that if you do not want your benefits applied in this way, you        such change shall be effective prior to the renewal date, and such
 may change your direct deposit instructions to the benefits payor at any        notice may be provided with ten days written notice prior to the
 time. If your Account is a joint account and one or more joint own-             renewal date. You agree that such notice may be provided to any
 ers are indebted to us in any manner, we may use the funds in the               joint account owner. By maintaining your Account after the effec-
 joint account to pay the debt without prior notice to you. This right           tive date of any change, you agree to be bound by the changes. No
 of set-off does not apply if the debt is created under a consumer               notice is required for changes in the interest rate and correspond-
 credit card plan or your right to withdraw funds from the Account               ing changes in the annual percentage yield for variable rate
 arises only in a representative capacity. You also acknowledge and              accounts or in fees for document printing.
 agree that any federal benefits or other payments deposited to your
 Account after a date of ineligibility must be returned to the Federal           Rules Governing Your Account:
 Government or other payor, as applicable, and we may set-off                        Your Account is governed by all rules and regulations of appli-
 against any of your Accounts in order to recover any ineligible                 cable federal law and the laws of the state listed on the front of
 benefits or payments you may have received if we are obligated to               this booklet (to the extent they are not considered to have been
 return funds to the payor. If we make a set-off against your                    preempted by federal law), including those that may modify the
 Account, you agree to release and indemnify us from all liability               terms of this Agreement. All deposits, items transmitted for col-
 for our actions.                                                                lection, and any other transactions concerning your Account are
     If you or any joint owner draws a check or otherwise auth-                  subject to applicable clearinghouse rules and Federal Reserve
 orizes withdrawals not presented for payment until after the                    rules and regulations.
                                                                            31
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    Notwithstanding   any other provisionDocument       509-13or Entered
                                          herein, this Agreement             on FLSD
                                                                     you consent            Docketand
                                                                                  to the jurisdiction 05/21/2010         Page
                                                                                                         venue of the state       34 of
                                                                                                                            and federal
 any section of this Agreement may be changed or terminated with- 49 courts located within the State of New York, County of New York
 out notice to the extent necessary to comply with any law or reg-            for the adjudication of all claims made by us against you arising
 ulation of any appropriate federal or state authority.                       from or relating to your account or the services provided by us.
    If a conflict exists between any provision of this Agreement and
 any statements made by any employee of ours or our affiliates, this          Arbitration:
 Agreement and the applicable sections will control.                              PLEASE READ THIS PROVISION CAREFULLY. IT PRO-
                                                                              VIDES, WITH THE SPECIFIC EXCEPTION STATED BELOW,
 Liability:                                                                   THAT ANY DISPUTE MUST BE RESOLVED BY BINDING ARBI-
    You agree that we shall be relieved of any and all liability for          TRATION. ARBITRATION REPLACES THE RIGHT TO GO TO
 acting upon your instructions or failing to act on your instructions         COURT. YOU WILL NOT BE ABLE TO BRING A CLASS ACTION
 when we reasonably believe that to do so would cause us to be                OR OTHER REPRESENTATIVE ACTION IN COURT, NOR WILL
 exposed to civil or criminal liability, or conflict with customary           YOU BE ABLE TO BRING ANY CLAIM IN ARBITRATION AS A
 banking practices. YOU AGREE THAT WE SHALL NOT BE                            CLASS ACTION OR OTHER REPRESENTATIVE ACTION. YOU
 LIABLE FOR INDIRECT, SPECIAL OR CONSEQUENTIAL                                WILL NOT BE ABLE TO BE PART OF ANY CLASS ACTION OR
 DAMAGES REGARDLESS OF THE FORM OF ACTION AND                                 OTHER REPRESENTATIVE ACTION BROUGHT BY ANYONE
 EVEN IF WE HAVE BEEN ADVISED OF THE POSSIBILITY                              ELSE, OR TO BE REPRESENTED IN A CLASS ACTION OR
 OF SUCH DAMAGES. IF WE FAIL TO STOP PAYMENT ON                               OTHER REPRESENTATIVE ACTION. IN THE ABSENCE OF
 AN ITEM, OR PAY AN ITEM BEARING AN UNAUTHORIZED                              THIS ARBITRATION AGREEMENT, YOU AND THE BANK
 SIGNATURE, FORGED DRAWER’S SIGNATURE OR FORGED                               MIGHT OTHERWISE HAVE HAD A RIGHT OR OPPORTUNITY
 ENDORSEMENT OR ALTERATION, OUR LIABILITY, IF ANY,                            TO BRING CLAIMS IN A COURT, BEFORE A JUDGE OR JURY,
 SHALL BE LIMITED TO THE FACE AMOUNT OF THE ITEM.                             AND/OR TO PARTICIPATE OR BE REPRESENTED IN A CASE
                                                                              FILED IN COURT BY OTHERS (INCLUDING CLASS ACTIONS).
 Research and Legal Process:                                                  EXCEPT AS OTHERWISE PROVIDED BELOW, THOSE RIGHTS
    If any legal process, including without limitation any subpoena,          ARE WAIVED. OTHER RIGHTS THAT YOU WOULD HAVE IF
 writ of garnishment, execution or any levy, is served on us relat-           YOU WENT TO COURT, SUCH AS THE RIGHT TO APPEAL AND
 ing to you or your account, we are authorized to comply with the             TO CERTAIN TYPES OF DISCOVERY, MAY BE MORE LIMITED
 legal process, and are not required to determine whether the                 OR MAY ALSO BE WAIVED.
 court issuing the legal process had jurisdiction over you or over                Either you or the Bank may, without the other’s consent, elect
 the account or otherwise had the authority to issue the legal                mandatory, binding arbitration of any claim, dispute or controversy
 process. To the extent not prohibited by applicable law, you will            raised by either you or the Bank against the other, or against the
 be charged for research, reproduction and production of docu-                employees, parents, subsidiaries, affiliates, beneficiaries, heirs,
 ments for our compliance with legal process and any other                    agents or assigns of the other, arising from or relating in any way
 expenses incurred by us in connection with our compliance,                   to this Agreement, any prior account agreement between you and
 including but not limited to attorneys’ fees.                                the Bank, or the advertising, the application for, or the approval
    If any action, including administrative proceedings, garnish-             of your Account (the “Claim” or “Claims”). All Claims originating
 ment, tax levies, restraining orders or other action is brought              from or relating to this Agreement are subject to arbitration, no
 against you or your account, you agree to indemnify, defend and              matter what theory they are based on or what remedy they seek,
 hold us harmless from all actions, claims, liabilities, losses, costs        whether legal or equitable. This includes Claims based on con-
 and damages (including attorneys’ fees) associated with our com-             tract, tort (including intentional tort), fraud, agency, negligence,
 pliance with any legal process.                                              statutory or regulatory provisions, or any other sources of law, or
                                                                              any request for equitable relief.
 Jurisdiction and Venue:                                                          Claims subject to arbitration include Claims that are made as
    Any action against us arising from or relating to your accounts           counterclaims, cross claims, third party claims, interpleaders or
 or services provided to you by us must be brought by you in state            otherwise, and any party to a proceeding in court may elect arbi-
 or (where there is subject matter jurisdiction) federal court located        tration with respect to any Claims advanced in the lawsuit by any
 in the State of New York, County of New York, except that any                party or parties.
 action arising from or relating to an account opened and main-                   As an exception to this arbitration provision, you retain the
 tained in another state or jurisdiction must be brought by you in            right to pursue in a small claims court, any Claim that is within
 a proper court located in that state or jurisdiction. In addition,           that court’s jurisdiction and proceed on an individual basis.
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    If you                               Document
            or the Bank elects to arbitrate  a Claim, the509-13
                                                          arbitration Entered    onreimburse
                                                                            We will   FLSD Docket
                                                                                              you for the05/21/2010
                                                                                                           initial arbitration Page
                                                                                                                               filing fee35
                                                                                                                                          paidof
 will be conducted as an individual action. Neither you nor the Bank  49 by you up to the amount of $500. If there  is a hearing,  we will pay
 consents or agrees to any arbitration on a class or representative           any fees of the arbitrator and arbitration administrator for the
 basis, and the arbitrator shall have no authority to proceed with            first two days of that hearing. All other fees will be allocated in
 any arbitration on a class or representative basis. This arbitration         keeping with the rules of the arbitration administrator and appli-
 provision applies to and includes any Claims made and remedies               cable law. If you prevail in the arbitration of any Claim against us,
 sought as part of any class action, private attorney general or              we will reimburse you for any fees you paid to the arbitration
 other representative action, which Claims hereby are made subject            organization in connection with the arbitration. All other fees,
 to arbitration on an individual (non-class, non-representative)              including attorneys’ fees, will be allocated in keeping with the
 basis. This means that even if a class action lawsuit or other rep-          rules of the arbitration administrator. Any decision rendered in
 resentative action, such as that in the form of a private attorney           such arbitration proceedings will be final and binding on the par-
 general action, is filed, any Claim between you and the Bank re-             ties, and judgment may be entered in a court of competent juris-
                                                                              diction. Rules and forms may be obtained from, and Claims may
 lated to this Agreement raised in such lawsuits will be subject to
                                                                              be filed with, either of the two organizations, as follows: the NAF
 an individual arbitration Claim if either you or the Bank so elects.         at P.O. Box 50191, Minneapolis, Minnesota 55405, web site at
     The party filing a Claim in arbitration must select either one of        www.arb-forum.com; or the AAA at 335 Madison Avenue, Floor 10,
 two national arbitration administrators: the National Arbitration            New York, New York 10017, web site at www.adr.org. Any arbitra-
 Forum (“NAF”) or the American Arbitration Association (“AAA”).               tion hearing at which you wish to appear will take place at a loca-
 The arbitration organization that is selected will apply its code or         tion within the federal judicial district that includes your address
 procedures in effect at the time the arbitration claim is filed,             at the time the Claim is filed.
 unless any portion of that code or those procedures is inconsistent              This arbitration provision is part of and constitutes a trans-
 with any specific terms of this arbitration provision and/or this            action involving interstate commerce, and shall be governed by
 Agreement, in which case this arbitration provision and this                 the FAA.
 Agreement shall prevail. The arbitration will be conducted before                This arbitration provision applies to all Claims relating to your
 a single arbitrator. The arbitrator will apply applicable substantive        Account that arose in the past, which may presently be in exis-
 law, including but not limited to the applicable Uniform Commer-             tence, or which may arise in the future. This arbitration provision
 cial Code, consistent with the Federal Arbitration Act, 9 U.S.C. §§          shall survive termination of your Account as well as voluntary
 1-16 (“FAA”) and the applicable statute of limitations or condition          payment of any outstanding indebtedness in full by you, or any
 precedent to suit, and will honor claims of privilege recognized at          bankruptcy by you. If we assign your Account to any unaffiliated
 law. The arbitrator will have the power to award to a party any              third party, this arbitration provision will apply to any Claim
 damages or other relief provided for under applicable law, and will          between you and that third party if you or that third party chooses
 not have the power to award relief to, against or for the benefit of         arbitration, or to any Claim between you and the Bank which
 any person who is not a party to the proceeding. The arbitrator’s            occurred prior to such assignment or arises from such assignment.
 authority is limited solely to the Claim(s) between you and the              Successors and Assignments:
 Bank alone. The arbitration may not be consolidated with any
 other arbitration proceeding. You and the Bank do not agree to                   This Agreement shall be binding on your personal representa-
 any arbitration on any basis to which any party other than you               tive, executors, administrators, and successors. The benefits and
 and the Bank, the related parties enumerated above such as                   responsibilities of this Agreement shall also transfer to and be
                                                                              binding upon our successors and assigns.
 heirs, successors and assigns, or any other person obligated on
                                                                                  You may not transfer, assign or grant a security interest in (col-
 the Account, is involved.                                                    lectively, “assign”) your Account without our written consent, and
     Any decision rendered in such arbitration proceeding will be             no assignment will be valid, nor will we be deemed to have knowl-
 final and binding on the parties, unless a party appeals in writing          edge of or be bound by such assignment, until we have noted that
 to the arbitration organization within 30 days of issuance of the            fact in its records. However, by noting the assignment, we do not
 award. The appeal must request a new arbitration before a panel              attest to or have any responsibility for the validity of the assign-
 of three neutral arbitrators designated by the same arbitration              ment. You understand that any assignment of your Account is sub-
 organization. The panel will reconsider all factual and legal issues         ject to our right of set-off.
 anew, follow the same rules and laws that apply to a proceeding
 using a single arbitrator, and make decisions based on the vote of           Authorization to Share Information:
 the majority. An award in arbitration will be enforceable as pro-               You authorize us to share information about you and your
 vided by the FAA or other applicable law by any court having                 Account with affiliates and third parties, as permitted by applica-
 jurisdiction.                                                                ble federal and state laws.


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                                             If youon
                                                    useFLSD      Docket  you 05/21/2010         Pageof36  yourof
 Check 21 – Substitute Checks                           this procedure,      may receive up to $2,500
                                       49 refund (plus interest if your account earns interest) within 10 busi-
 and Your Rights                                                             ness days after we received your claim and the remainder of your
                                                                             refund (plus interest if your account earns interest) not later than
                                                                             45 calendar days after we received your claim.
 What is a substitute check?                                                    We may reverse the refund (including any interest on the
     To make check processing faster, federal law permits banks to           refund) if we later are able to demonstrate that the substitute
 replace original checks with “substitute checks.” These checks              check was correctly posted to your account.
 are similar in size to original checks with a slightly reduced image
 of the front and back of the original check. The front of a substi-         How do you make a claim for a refund?
 tute check states: “This is a legal copy of your check. You can use             If you believe that you have suffered a loss relating to a sub-
 it the same way you would use the original check.” You may use a            stitute check that you received and that was posted to your
 substitute check as proof of payment just like the original check.          account, please contact us at:
     Some or all of the checks that you receive back from us may be
                                                                                 By Phone: English 1-800-935-9935
 substitute checks. This notice describes rights you have when you
 receive substitute checks from us. The rights in this notice do not                       Spanish 1-877-312-4273
 apply to original checks or to electronic debits to your account.                         Hearing Impaired 1-800-242-7383
 However, you have rights under other law with respect to those
                                                                                 You must contact us within 40 calendar days of the date that we
 transactions.
                                                                             mailed (or otherwise delivered by a means to which you agreed) the
                                                                             substitute check in question or the account statement showing that
 What are your rights as a CONSUMER regarding                                the substitute check was posted to your account, whichever is
 substitute checks?                                                          later. We will extend this time period if you were not able to make
     In certain cases, federal law provides a special procedure that         a timely claim because of extraordinary circumstances.
 allows you to request a refund for losses you suffer if a substitute
 check is posted to your account (for example, if you think that we          Your claim must include –
 withdrew the wrong amount from your account or that we with-                • A description of why you have suffered a loss (for example,
 drew money from your account more than once for the same                        you think the amount withdrawn was incorrect);
 check). The losses you may attempt to recover under this proced-
 ure may include the amount that was withdrawn from your                     •   An estimate of the amount of your loss;
 account and fees that were charged as a result of the withdrawal            •   An explanation of why the substitute check you received is
 (for example, bounced check fees).                                              insufficient to confirm that you suffered a loss; and
     The amount of your refund under this procedure is limited to            •   The following information to help us identify the substitute
 the amount of your loss or the amount of the substitute check,                  check; the check number, the name of the person to whom you
 whichever is less. You also are entitled to interest on the amount              wrote the check, and the amount of the check.
 of your refund if your account is an interest-bearing account. If
 your loss exceeds the amount of the substitute check, you may be
 able to recover additional amounts under other law.




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                                                     FLSD     Docket 05/21/2010             Pageto37you,of
 Funds Availability Policy for         49
                                            • State     local government checks that are payable
                                              if you use a special deposit slip available at any banking
 Personal Checking Accounts                                                         office upon request;
 and Savings Accounts                                                            • Cashier’s, certified, and teller’s checks that are payable to
                                                                                    you, if you use a special deposit slip available at any bank-
 General Policy:                                                                    ing office upon request; and
     Our general policy is to make funds available to you not later              • Federal Reserve Bank checks, Federal Home Loan Bank
 than the fifth business day after the day of your deposit depending                checks, and postal money orders, if these items are payable
 on the type and location of the deposit as described below. Once                   to you.
 funds from your deposits are available, you can withdraw them in                If you do not make your deposit in person to one of our employ-
 cash and we will use the funds to pay items that are drawn against           ees, funds from these deposits will be available on the second busi-
 your account.
                                                                              ness day after the day of your deposit.
     For determining the availability of your deposits, every day is a
 business day, except Saturdays, Sundays, and state and federal
 holidays. If you make a deposit in a branch no later than 2:00 p.m.          Availability of Other Check Deposits:
 local time on a business day that we are open*, we will consider                 Funds from all other check deposits will be available depend-
 that day to be the day of your deposit. If you make a deposit on a           ing on whether the check is a local or nonlocal check and where
 business day through a Chase ATM located in TX no later than                 the deposit has been received. Checks can be identified as local or
 1:00 p.m. CT, in LA no later than 12:00 noon CT, in IL no later than         nonlocal by looking at the first four digits of the nine-digit bank
 6:00 p.m. CT, in AZ no later than 1:30 p.m. MT, in UT no later than          routing number normally located on the lower left-hand side of the
 2:00 p.m. MT, in CT, NJ and NY no later than 12:00 noon ET, or in            check. Some checks are marked “payable through” and have a
 all other states no later than 4:45 p.m. ET*, we will consider that          four- or nine-digit number near the routing number. For these
 day to be the day of your deposit. However, if you make a deposit            checks, use the four-digit number (or the first four digits of the
 after these stated times, or on a weekend, state holiday, federal            nine-digit number), not the routing number on the bottom of the
 holiday or day we are closed, we will consider that the deposit was          check, to determine if these checks are local or nonlocal.
 made on the next business day.                                                   Once you have determined the first four digits of the routing
  * Closing of the business day may vary by location. Check your              number, the chart will show you when funds from the check will be
    local branch or ATM for exact times.                                      available. All deposits made by mail and addressed to a Chase loca-
                                                                              tion without using a specific branch name and street address will
 Same Day Availability:                                                       be considered received by the Bank’s National Bank-By-Mail facil-
    Funds from the following deposits will be available on the day            ity in Louisville, Kentucky as of the date such deposit is received
 we receive your deposit:                                                     by this facility. If you deposit both categories of checks, at least
    • Wire transfers; and                                                     $100 from the checks will be available on the first business day
                                                                              after the day of your deposit, not $100 from each category of check.
    • Electronic direct deposits to your account.
 Next Day Availability:                                                       Longer Delays May Apply:
    Funds from the following deposits are available on the first                  If we are not going to make all of the funds from your deposit
 business day after the day of your deposit:                                  available at the times shown above, we will notify you at the time
                                                                              you make your deposit. We will also tell you when the funds will be
    • Cash;                                                                   available. If your deposit is not made directly to a Bank employee,
    • U.S. Treasury checks that are payable to you; and:                      or if we decide to take this action after you have left the premises,
    • Checks drawn on the Bank (excluding a Controlled Dis-                   we will mail you the notice by the day after we receive your deposit.
       bursement site), that are deposited in the state in which                  If you will need the funds from a deposit right away, you
       such check is considered local. (See Availability of Other             should ask us when the funds will be available.
       Check Deposits section to determine checks that will be                    Funds you deposited by check may be delayed for longer than
       considered local.)                                                     five business days under the following circumstances:
    If you make the deposit in person to one of our employees,                    • We believe a check you deposited will not be paid;
 funds from the following deposits are also available on the first                • You deposited checks totaling more than $5,000 in any one
 business day after the day of your deposit:                                         day;
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   • You redeposited a check that hasDocument
                                      been returned509-13       Entered on FLSD Docket 05/21/2010 Page 38 of
                                                   unpaid;
   • You have overdrawn your account repeatedly in the last six 49 Funds Availability Policy for
        months; or                                                           Business Checking Accounts
    •   There is an emergency, such as failure of communications             and Savings Accounts
        or computer equipment.
     We will notify you if we delay your ability to withdraw funds           General Policy:
 for any of these reasons, and we will tell you when the funds will              Our general policy is to make funds available to you not later
 be available. In these circumstances, funds deposited will gener-           than the fourth business day, after the day of your deposit depend-
 ally be available no later than the seventh business day after the          ing on the type and location of the deposit as described below. Once
 day of your deposit and, unless your deposit totals more than               funds from your deposits are available, you can withdraw them in
 $5,000, the first $100 of your deposits will not be made available          cash and we will use the funds to pay items that are drawn against
 on the first business day.                                                  your account.
                                                                                 For determining the availability of your deposits, every day is
 Special Rules for New Accounts:                                             a business day, except Saturdays, Sundays, and state and federal
                                                                             holidays. If you make a deposit in a branch no later than 2:00 p.m.
   If you are a new account customer, the following special rules            local time on a business day that we are open*, we will consider
 may apply during the first 30 days your account is open:                    that day to be the day of your deposit. If you make a deposit on a
   • Funds from deposits of cash, wire transfers, and the first              business day through a Chase ATM located in TX no later than
      $5,000 of a day’s total deposits of cashier’s, certified, tell-        1:00 p.m. CT, in LA no later than 12:00 noon CT, in IL no later
      er’s, traveler’s, and federal, state, and local government             than 6:00 p.m. CT, in AZ no later than 1:30 p.m. MT, in UT no
      checks will be available on the first business day after the           later than 2:00 p.m. MT, in CT, NJ and NY, no later than 12:00
      day of your deposit if the deposit meets certain conditions.           noon ET, or in all other states no later than 4:45 p.m. ET*, we will
      For example, the checks must be payable to you and must                consider that day to be the day of your deposit. However, if you
      be deposited with the use of a special deposit slip. The               make a deposit after these stated times, or on a weekend, state
      excess over $5,000 will be available on the ninth business             holiday, federal holiday or day we are closed, we will consider that
      day after the day of your deposit. If your deposit of these            the deposit was made on the next business day.
      checks (other than U.S. Treasury checks) is not made in per-            * Closing of the business day may vary by location. Check your
      son to one of our employees, the first $5,000 will not be                 local branch or ATM for exact times.
      available until the second business day after the day of your
      deposit; and                                                           Same Day Availability:
   • Funds from all other check deposits will be available no                   Funds from the following deposits will be available on the day
      later than the fifteenth business day after the day of your            we receive your deposit:
      deposit.                                                                  • Wire transfers; and
 Holds on Other Funds:                                                          • Electronic direct deposits to your account.
    If we cash a check for you that is drawn on another bank, we             Next Day Availability:
 may withhold the availability of a corresponding amount of funds
 that are already in your Account. Those funds will be available at             Funds from the following deposits are available on the first
 the time funds from the check we cashed would have been avail-              business day after the day of your deposit:
 able if you had deposited it.                                                  • Cash;
    If we accept for deposit a check that is drawn on another bank,             • U.S. Treasury checks that are payable to you;
 we may make funds from the deposit available for withdrawal im-                • Checks drawn on the Bank (excluding a Controlled Dis-
 mediately but delay your availability to withdraw a corresponding                 bursement site), that are deposited in the state in which
 amount of funds that you have on deposit in another account with                  such check is considered local. (See Availability of Other
 us. The funds in the other account would then not be available for                Check Deposits section to determine checks that will be
 withdrawal until the time periods that are described herein.                      considered local.)
                                                                                If you make the deposit in person to one of our employees,
                                                                             funds from the following deposits are also available on the first
                                                                             business day after the day of your deposit:
                                                                        36
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          Funds Availability Chart:
                                               49 Find the first four digits from routing numbers below to
                                                   determine local availability:
  LOCAL AVAILABILITY                 EXAMPLE
                                                                          Local numbers for deposits received by our Bank-By-Mail facility or
  When funds are available           When funds are available if a        made at branches in Ohio, Kentucky, Indiana or West Virginia include:
  based on the Local Routing         deposit is made on a Monday:
                                                                          0410, 0412, 0420, 0421, 0422, 0423, 0430, 0432, 0433, 0434, 0440, 0441,
  Numbers as identified in
  the following chart:                                                    0442, 0515, 0519, 0720*, 0724*, 0740, 0749, 0813, 0830, 0839, 0863, 2410,
                                                                          2412, 2420, 2421, 2422, 2423, 2430, 2432, 2433, 2434, 2440, 2441, 2442,
  $5,000 available on the first      Tuesday                              2515, 2519, 2720*, 2724*, 2740, 2749, 2813, 2830, 2839, 2863
  business day ater the day of
  your deposit.                                                           Local numbers for deposits made in Illinois or Wisconsin include:
  Fully available on the second      No later than Wednesday              0710, 0711, 0712, 0719, 0750, 0759, 2710, 2711, 2712, 2719, 2750, 2759
  business day after the day of
  your deposit.                                                           Local numbers for deposits made in Oklahoma include:
                                                                          1030, 1031, 1039, 1110, 1111, 1113, 1119, 1120, 1122, 1123, 1130, 1131, 1140,
  NONLOCAL AVAILABILITY EXAMPLE                                           1149, 1163, 3030, 3031, 3039, 3110, 3111, 3113, 3119, 3120, 3122, 3123, 3130,
                                                                          3131, 3140, 3149, 3163
  When funds are available           When funds are available if a
  based on the Routing               deposit is made on a Monday:         Local numbers for deposits made in Louisiana include:
  Numbers considered Nonlocal:                                            0610, 0611, 0612, 0613, 0620, 0621, 0622, 0650, 0651, 0652, 0653, 0654,
                                                                          0655, 1110, 1111, 2610, 2611, 2612, 2613, 2620, 2621, 2622, 2650, 2651, 2652,
  $5,000 on the first business day   Tuesday                              2653, 2654, 2655, 3110, 3111
  of your deposit.
  Remaining funds no later than      No later than Friday                 Local numbers for deposits made in Texas include:
  the fourth business day after                                           1030, 1031, 1039, 1110, 1111, 1113, 1119, 1120, 1122, 1123, 1130, 1131, 1140,
  the day of your deposit.                                                1149, 1163, 3030, 3031, 3039, 3110, 3111, 3113, 3119, 3120, 3122, 3123, 3130,
                                                                          3131, 3140, 3149, 3163

                                                                          Local numbers for deposits made in Colorado and Utah include:
 Business Funds Availability Chart:                                       1010, 1011, 1012, 1019, 1020, 1021, 1022, 1023, 1030, 1031, 1039, 1070, 1240,
                                                                          1241, 1242, 1243, 3010, 3011, 3012, 3019, 3020, 3021, 3022, 3023, 3030,
                                                                          3031, 3039, 3070, 3240, 3241, 3242, 3243
  LOCAL AVAILABILITY                 EXAMPLE
                                                                          Local numbers for deposits made in Arizona include:
  When funds are available           When funds are available if a        1220, 1221, 1222, 1223, 1224, 3220, 3221, 3222, 3223, 3224
  based on the Local Routing         deposit is made on a Monday:
  Numbers as identified in
  the following chart:                                                    Local numbers for deposits made in Michigan include:
                                                                          0410, 0412, 0430, 0432, 0433, 0434, 0440, 0441, 0720, 0724, 2410, 2412,
  $5,000 on the first business day   Tuesday                              2430, 2432, 2433, 2434, 2440, 2441, 2720, 2724
  after the day of your deposit.
  Remaining funds no later than the No later than Wednesday               Local numbers for deposits made in Florida include:
  second business day after the day                                       0630, 0631, 0632, 0660, 0670, 2630, 2631, 2632, 2660, 2670
  of your deposit.
                                                                          Local numbers for deposits made in Connecticut include:
  NONLOCAL AVAILABILITY EXAMPLE                                           0110, 0111, 0112, 0113, 0114, 0115, 0116, 0117, 0118, 0119, 0210, 0211,
                                                                          0212, 0213, 0214, 0215, 0216, 0219, 0220, 0223, 0260, 0280, 0310,
  When funds are available           When funds are available if a        0311, 0312, 0313, 0319, 0360, 2110, 2111, 2112, 2113, 2114, 2115, 2116,
  based on the Routing               deposit is made on a Monday:         2117 2118, 2119, 2211, 2212, 2213, 2214, 2215, 2216, 2219, 2220, 2223,
  Numbers considered Nonlocal:                                            2260, 2310, 2311, 2312, 2313, 2319, 2360
  $5,000 no later than the first     Tuesday
  business day after the day of                                           Local numbers for deposits made in New York and New Jersey include:
  your deposit.                                                           0210, 0212, 0213, 0214, 0215, 0216, 0219, 0220, 0223, 0260, 0280,
                                                                          0310, 0311, 0312, 0313, 0319, 0360, 2212, 2213, 2214, 2215, 2216, 2219,
  Remaining funds no later than      No later than Thursday               2220, 2223, 2260, 2310, 2311, 2312, 2313, 2319, 2360
  the third business day after
  the day of your deposit.                                                * Routing numbers will not be considered local for deposits received in branches
                                                                            in Southern Ohio and South-Eastern Ohio. See a banker for further information.


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   • State                           Document
           and local government checks               509-13
                                        that are payable to you, Entered
                                                                      • Youonredeposited
                                                                               FLSD Docket         05/21/2010
                                                                                         a check that                Page
                                                                                                      has been returned      40 of
                                                                                                                        unpaid;
     if you use a special deposit slip available at any banking  49   • You have overdrawn your account repeatedly in the last six
       office upon request;                                                          months; or
    • Cashier’s, certified, and teller’s checks that are payable to              •   There is an emergency, such as failure of communications
       you, if you use a special deposit slip available at any bank-                 or computer equipment.
       ing office upon request; and                                               We will notify you if we delay your ability to withdraw funds
    • Federal Reserve Bank checks, Federal Home Loan Bank                     for any of these reasons, and we will tell you when the funds will
       checks, and postal money orders, if these items are payable            be available. In these circumstances, funds deposited will gener-
       to you.                                                                ally be available no later than the seventh business day after the
    If you do not make your deposit in person to one of our employ-           day of your deposit and, unless your deposit totals more than
 ees, funds from these deposits will be available on the second busi-         $5,000, the first $100 of your deposits will not be made available
 ness day after the day of your deposit.                                      on the first business day.

 Availability of Other Check Deposits:                                        Special Rules for New Accounts:
     Funds from all other check deposits will be available depend-              If you are a new account customer, the following special rules
 ing on whether the check is a local or nonlocal check and where              may apply during the first 30 days your account is open:
 the deposit has been received. Checks can be identified as local or            • Funds from deposits of cash, wire transfers, and the first
 nonlocal by looking at the first four digits of the nine-digit bank               $5,000 of a day’s total deposits of cashier’s, certified, tell-
 routing number normally located on the lower left-hand side of the                er’s, traveler’s, and federal, state, and local government
 check. Some checks are marked “payable through” and have a                        checks will be available on the first business day after the
 four- or nine-digit number near the routing number. For these                     day of your deposit if the deposit meets certain conditions.
 checks, use the four-digit number (or the first four digits of the                For example, the checks must be payable to you and must
 nine-digit number), not the routing number on the bottom of the                   be deposited with the use of a special deposit slip. The
 check, to determine if these checks are local or nonlocal.                        excess over $5,000 will be available on the ninth business
     Once you have determined the first four digits of the routing                 day after the day of your deposit. If your deposit of these
 number, the chart will show you when funds from the check will be                 checks (other than U.S. Treasury checks) is not made in per-
 available. All deposits made by mail and addressed to a Chase loca-               son to one of our employees, the first $5,000 will not be
 tion without using a specific branch name and street address will                 available until the second business day after the day of your
 be considered received by the Bank’s National Bank-By-Mail facil-                 deposit; and
 ity in Louisville, Kentucky as of the date such deposit is received
 by this facility. If you deposit both categories of checks, at least           • Funds from all other check deposits will be available no
 $100 from the checks will be available on the first business day                  later than the fifteenth business day after the day of your
 after the day of your deposit, not $100 from each category of check.              deposit.

 Longer Delays May Apply:                                                     Holds on Other Funds:
     If we are not going to make all of the funds from your deposit              If we cash a check for you that is drawn on another bank, we
 available at the times shown above, we will notify you at the time           may withhold the availability of a corresponding amount of funds
 you make your deposit. We will also tell you when the funds will be          that are already in your Account. Those funds will be available at
 available. If your deposit is not made directly to a Bank employee,          the time funds from the check we cashed would have been avail-
 or if we decide to take this action after you have left the premises,        able if you had deposited it.
 we will mail you the notice by the day after we receive your deposit.           If we accept for deposit a check that is drawn on another bank,
     If you will need the funds from a deposit right away, you                we may make funds from the deposit available for withdrawal im-
 should ask us when the funds will be available.                              mediately but delay your availability to withdraw a corresponding
     Funds you deposited by check may be delayed for longer than              amount of funds that you have on deposit in another account with
 five business days under the following circumstances:                        us. The funds in the other account would then not be available for
     • We believe a check you deposited will not be paid;                     withdrawal until the time periods that are described herein.
     • You deposited checks totaling more than $5,000 in any one
        day;
                                                                         38
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                                          Reserveon  FLSDE.Docket
                                                              These will05/21/2010        Page agree-
                                                                                                   41 of
 Important Endorsement                            Regulation            be governed by a separate
                                       49 ment. For Business Accounts, wire transfer and all other funds
 Standards for Personal                                                              transfer or other treasury services not identified in this section
                                                                                     will be governed by a separate agreement.
 and Business Accounts
                                                                                     TYPES OF EFT SERVICES:
    Your compliance with the Bank’s endorsement standards is                         A. Access Cards. By using your ATM Card, Chase Visa Check
 necessary to help assure that the checks you deposit will be                           Card or the Chase Banking Card (collectively, the “Card”), you
 cleared on a timely basis. The Bank’s endorsement standards are:                       agree that:
    • Customer endorsements must be placed in the 1 1/2 inch                             1. Your Card remains our property and will be surrendered
       area starting at the left side of the check;                                         immediately to us upon request.
    • The remaining area of the check cannot contain any pre-                            2. We may cancel your Card at any time without notice.
       printed stamped or handwritten customer information. The
       diagram below illustrates where the endorsements must                             3. You shall abide by our rules and regulations relating to
       appear to comply with these endorsement standards; and                               the use of your Card.
    • The check is viewed from the front as though it is trans-                          4. You shall notify us promptly by telephone or in writing
       parent.                                                                              of the loss of your Card.
                                             Area used for payee                         5. You shall not reveal your Card or access code associated
                                             endorsement.                                   with your Card (personal identification number or “PIN”)
                                                                                            to any person not authorized by you to use your Card and
                                                                                            to not write your PIN number on your Card or on any item
                                                                                            kept with your Card.
                                                            Depositor (payee)
                                                             endorsement.




                                                                                         6. For merchant purchases, we have the right to place a
                                 Reserved for                                               temporary hold on your Account in an amount equal to the
                                  Bank Use
                                                                                            authorization amount received through the payment autho-
                                                                                            rization system. In certain circumstances, the payment
                                                                                            authorization system permits the authorization amount
                                                                                            received by us to exceed or be less than the final amount
               3 Inches                              11/2 Inches                            of the transaction. This typically happens when you pur-
                                                                                            chase gas (pay-at-the-pump), restaurant food, mail order
    Area used for             Area used for bank                                            items, hotel rooms, phone service, use transportation mer-
    subsequent collecting     of first deposit.
    bank endorsement.                                                                       chants such as cruise lines or rental car agencies, or other
                                                                                            similar merchants. The reason for this temporary differ-
                                                                                            ence is that the final amount of your purchase is not known
                                                                                            at the moment when you or the merchant “swipes” your
 Electronic Funds                                                                           Card for authorization. Authorization tells the merchant
                                                                                            whether your Card is legitimate and has enough money to
 Transfer Services                                                                          cover your purchase. Oftentimes, a small amount is added
                                                                                            to the authorization in order to ensure that you have
     We provide a variety of electronic funds transfer (EFT) deposit
                                                                                            enough money to cover your gas purchase, cover a tip on a
 account services. These include all transfers resulting from the
                                                                                            restaurant tab, cover delivery fees on mail orders, cover
 Chase Visa Check Card, the Chase Banking Card, ATM Cards, elec-
                                                                                            extra hotel services, or cover the expenses of a long dis-
 tronic payments, credits and transfers, telephone transfers and on-
                                                                                            tance call. A day or two later your purchases are officially
 line banking transactions. In conjunction with the use of these
                                                                                            settled and the exact amount replaces the authorized
 EFT services, we may issue to you an access device, which may be
                                                                                            amount.
 a card, code or other means of accessing your Account to initiate
 EFTs.                                                                                   7. We have the right to refuse a transaction on your Account
     For Personal Accounts, EFT deposit account services exclude                            when your Card has been reported lost or stolen or when
 wire transfer and other same day settlement funds transfer serv-                           we reasonably believe there is unusual activity on your
 ices and all other transactions which are not covered by Federal                           Account.
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      If you use your Card to access an Account that 509-13
                                                      is no longer Entered on FLSDATMs
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      available to complete a transaction, we may, at our sole dis- 49     Use your Card at participating networks. Use of your Card
         cretion, charge or credit the transaction to another Account.                may vary depending on the location and type of ATM you
      9. If you use your Card to access an Account that does not                      are using and the EFT network through which the trans-
         have sufficient funds to complete a transaction or that                      action is being performed. A specific ATM or EFT network
         would exceed the daily authorization limit attached to your                  may not perform or permit all the above transactions.
         Card, we may, at our sole discretion, authorize the trans-                   Transactions at non-Chase ATMs may be subject to a sur-
         action. If we authorize a transaction that overdraws your                    charge assessed by the terminal owner. In addition, a spe-
         Account, we may assess a fee and/or charge interest for                      cific ATM or EFT network may not provide you with
         any overdraft against your Account.                                          access to all of your Accounts based on the policies of the
                                                                                      ATM-owning institution. Withdrawals from ATMs outside
     10. The exchange rate applied by Visa or MasterCard to Card                      the United States generally do not allow savings or money
         transactions that occurred initially in a different currency                 market access. If you have questions regarding whether a
         will be (i) a rate selected by Visa or MasterCard from the                   certain ATM or EFT network will process a transaction,
         range of rates available in wholesale currency markets for                   call or write us.
         the applicable central processing date, which rate may
         vary from the rate Visa or MasterCard itself receives, or (ii)        (2) Business ATM Card (deposit only):
         the government-mandated rate in effect for the applicable                    You may use your Business ATM Card (deposit only) to
         central processing date. The rate in effect on the applica-               make deposits to your designated checking and savings
         ble processing date may differ from the rate on the date                  accounts at full service Chase branded ATMs.
         you used your Card. For purchases, ATM and non-ATM
         cash transactions, we will add three percent to the amount            (3) In addition to the services listed above, you may use
         provided to us by Visa and MasterCard.                                    your Card:
     11. You shall not use your Card to initiate a transaction involv-             • At any financial institution that honors your Card to
         ing Internet gambling or illegal activities, regardless of the               obtain non-ATM cash, which may not exceed your daily
         jurisdiction in which you are located, including locations                   authorization limit and will be charged to your primary
         within the United States, and we have the right to refuse a                  checking account. Transactions exceeding this limit may
         transaction which we reasonably believe involves Internet                    require the financial institution to phone the Bank for
         gambling or illegal activities.                                              approval.
                                                                                   • To purchase goods and services from merchants who
 Uses of Your Card:                                                                   accept your Card as a means of payment. Purchases may
                                                                                      not exceed your daily authorization limit and are charged
 (1) You can use your Card (except for deposit only Business                         against your primary checking account. If you have
     ATM Cards) to perform the following services at:                                arranged with your merchant to pay for your purchases
     a. Chase branded ATMs to:                                                       via periodic payments, this is an agreement between you
         • Withdraw cash from your designated checking and                           and the merchant and you agree that you must notify the
            savings accounts.                                                        merchant if your account number or expiration date has
                                                                                     been changed or your Account has been closed.
        •   Transfer funds between your designated checking and                    • If you request Emergency Services, you agree to the
            savings accounts.                                                        release of personal data to Visa U.S.A. Inc., MasterCard
        •   Find out your designated checking and savings account                    and its member financial institution and/or their respec-
            balances.                                                                tive contractors for the purposes of providing the Emerg-
        •   Make deposits to your designated checking and savings                    ency Services.
            accounts.                                                              • If you provide authorization to a merchant to bill charges
        •   Make payments (enclosed) accepted at branches in your                    on a recurring basis to your Card, and if a replacement
            market.                                                                  Card has been issued to you, you must provide that mer-
                                                                                     chant with your new card number and/or expiration date
        •   Make payments at ATMs that accept envelope deposits.                     in order to bill the recurring charges to your Card. We will
        •   Obtain a statement at participating ATMs where avail-                    make an effort to make available to the merchant through
            able.                                                                    Visa/MasterCard your account number, and/or expiration
                                                                          40
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          in order to permit the merchant to continue509-13
                                                      to bill the Entered  on FLSD
                                                                       Point-of-Sale     Docketwill
                                                                                     transactions 05/21/2010        Page
                                                                                                    be selected by you at the43
                                                                                                                              timeof
     recurring changes to your Card until you notify the mer-     49   you request the card.
       chant and us that you have withdrawn your authorization.
 (4) Point-of-Sale Terminal Transactions:                                   Your Right to Receive Documentation or
                                                                            Notice of Transactions:
     You may use your Card (except for the Business ATM Card
     (deposit only)) to access your primary checking account to:               You will receive a receipt or have the option to receive a
                                                                            receipt at our ATMs and the other ATMs that accept your Card
     • Purchase goods and services from merchants and ATMs                  each time you make a transaction. The receipt will indicate the
       who have agreed to accept your Card as a means of pay-               location of the ATM (by code in some cases), the transaction date
       ment.                                                                and type, the amount, and the last four digits of your Card
     • Withdraw cash in conjunction with a purchase of goods                account number.
       or services if permitted by the merchant.                               You will receive an account statement each month for your
     • Perform balance inquiries on your primary checking                   accounts that are accessible by electronic funds transfers if such
       account if permitted by the merchant.                                transfers occur during the month, but at least quarterly if no such
                                                                            transfers occur.
 Limitations on Transfers, Amounts, and                                        If you have arranged to have direct deposits made to your
 Frequency of Transactions:                                                 account at least once every 60 days from the same person, com-
                                                                            pany or governmental agency, you can call us at the telephone
 (1) You may make only 6 preauthorized withdrawals (including,
     but not limited to, withdrawals made by ACH, telephone,                number or address set forth below to find out whether or not the
     Internet or wire) from your regular savings account or 6               deposit has been made. When calling us, please provide us with
     preauthorized withdrawals (no more than 3 of which may be              your account number and the amount and date of the last deposit.
     by check or similar order payable to a third party) from your
     money market deposit savings account monthly for purposes              B. Payments, Credits and Transfers. We are able to electron-
     of making a payment to a third party. We are not considered a             ically transfer funds between your Accounts, or from your
     third party for purposes of this limitation where the transfers           Account to other parties and to receive funds electronically
     are for purposes of re-paying loans and associated expenses.              from other parties for deposit to your Account. We may do this
                                                                               by “ACH” (as a member of a local or national Automated
 (2) You may make cash withdrawals, not to exceed $1,000 per                   Clearing House Association) and other EFT networks. You may
     day (ATM Card, Check Card and Banking Card), $300 per day                 authorize a merchant or other payee to make a one-time elec-
     (High School Checking ATM Card) or $400 per day (High                     tronic payment from your checking account using information
     School Checking Check Card). For security reasons there may               from your check to pay for purchases or pay bills.
     be times when we further limit this amount.
 (3) You may make Point-of-Sale transactions in amounts not to              C. Online Bill Payment and Transfer Services. You may
     exceed $1,000 per day (ATM Card), $300 per day (High                      use the Internet to electronically direct us to make payments
     School Checking ATM Card), or your daily authorization limit.             from your checking account to third parties (“payees”) whom
     Beginning October 15, 2006, your daily authorization limit will           you have selected in advance to receive payment by means of
     be $3,000 per day (Check Card), $5,000 per day (Better                    the online bill payment service. You must have a checking
     Banking Card, Premier Card, Business Check Card, United                   account with us to use this service. If you have multiple
     Airlines Card, Continental Banking Card and Leisure Rewards               accounts with us, you may also direct us to make transfers
     Card), $7,500 per day (Premier Platinum Card) or $15,000 per              between your accounts by means of the online transfer serv-
     day (Continental Business Banking Card and United Business                ice. To gain access to these online services, go to our websites
     Card). For security reasons there may be times when we fur-               and enroll with your eligible Bank accounts. Additional disclo-
     ther limit this amount. Point-of-Sale transactions exceeding              sures and specific terms and conditions for using the online
     this limit may require the merchant to phone us for approval.             services will be provided when you enroll.
 (4) If your Account is not in an active status, access to the Ac-
     count by use of your Card may be temporarily suspended.                D. Telephone Banking. You may use our automated customer
 (5) A Privileges Check Card or Business Associate Check Card                  service system or speak directly to a Telephone Banker to
     may be issued at your request to allow authorized non-signers             request us to make periodic transfers from your Account to
     to access your designated checking or savings accounts. The               another checking or savings account held by us. You may also
     maximum daily dollar limit for ATM cash withdrawals and                   make periodic transfers from your Account to pay certain
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   loans,                               Document
          lines of credit, or credit cards you have with509-13
                                                         us or with Entered    onconclusion
                                                                          At the   FLSD Docket         05/21/2010
                                                                                             of our investigation, we will Page    44ofof
                                                                                                                           inform you
   our affiliates. To use the automated system you must have a      49 our results within three (3) business days. If we determine that
    checking, savings, money market, CD, loan account or a Debit               there was no error, we will send you a written explanation. You
    Card and a valid password or PIN. Business account holders                 may ask for copies of the documents that we used in our investi-
    may also use a valid TIN. You agree not to reveal your account             gation. In all cases, our investigation will be completed within 45
    number, Debit Card number, password, PIN or TIN to any per-                days (or 90 days if your Account was opened less than 30 days
    son not authorized by you to use the automated system. To use              prior to the date of the suspected error or occurred at a point-of-
    the service, enter your account number or Debit Card number                sale location or outside the United States).
    and password, PIN or TIN as directed. Then follow the options.
 E. Overdraft Protection Transfers. To obtain Overdraft Pro-                   THE BANK’S LIABILITY FOR FAILURE TO
    tection you must have a checking account with us. You must                 COMPLETE TRANSACTIONS:
    also have a savings account, qualifying credit card, or qualify-               If we do not complete a transaction from your account on time
    ing home equity, Prestige or business line of credit (“Funding             or in a correct amount, according to our Agreement with you, we
    Account”). We are able to transfer funds from a Funding                    will be liable for your losses or damages.
    Account to your checking account to prevent overdrafts from                    However, there are some exceptions. For instance, we will not
    occurring.                                                                 be liable if:
 IN CASE OF ERRORS OR QUESTIONS ABOUT                                             1. Through no fault of ours, you do not have enough available
 YOUR ELECTRONIC FUNDS TRANSFERS:                                                    funds in your account to make the transaction.
 For Personal Accounts Only:                                                      2. The ATM where you are making the transfer does not have
     Telephone or write us at the telephone number or address set                    enough cash.
 forth in the Address and Telephone Numbers Section if you think                  3. The ATM was not working properly and you knew about
 your statement or receipt is wrong, or if you need more informa-                    the breakdown when you started the transaction.
 tion about a transaction listed on the statement or receipt. We                  4. Circumstances beyond our control (such as fire or flood) pre-
 must hear from you NO LATER than 60 days after we sent you the                      vent the transaction, despite reasonable precautions that
 FIRST statement on which the problem or error appeared. In your                     we have taken.
 communication to us, be prepared to provide us with the follow-
                                                                                  5. In the case of preauthorized credits, the data from the third
 ing information:
                                                                                     party is not received, is incomplete or erroneous, or if the
     1. Your name and account number.                                                recipient is deceased.
     2. A description of the error or the transfer you are unsure
        about, why you believe it is an error or why you need                  STOP PAYMENT FOR PREAUTHORIZED
        more information.
                                                                               TRANSFERS:
     3. The dollar amount of the suspected error.
                                                                                  If you have arranged, in advance, to make regular periodic
     If you initially provide this information to us via the telephone,
                                                                               payments out of your Account, you can stop any of those pay-
 we may require that you send your complaint or question in writ-
 ing within 10 business days.                                                  ments by following these procedures:
     We will advise you of the results of our investigation within 10             1. Call or write us at the telephone number or address set
 business days (or 20 business days if your Account was opened                        forth in the Addresses and Telephone Numbers section, in
 less than 30 days prior to the date of the suspected error) after                    time for us to receive your request three or more business
 we hear from you and, if we have made an error, we will correct                      days before the payment is scheduled to be made. (Note: By
 it promptly. If it takes us longer than 10 business days (or 20                      using your personal computer to cancel the transaction,
 business days if your Account was opened less than 30 days prior                     you may stop a bill payment that is “Pending” at any time
 to the date of the suspected error) to research your complaint or                    prior to four business days before the Payment Due Date.
 problem, we must provisionally recredit your Account within such                     To stop bill payments that are “In Process” please call the
 time for the amount you think is in error so that you will have the
                                                                                      Customer Service Department at 1-877-CHASE PC (1-877-
 use of the money during the time it takes us to conclude our
 investigation. If we ask you to put your question or complaint in                    242-7372). See your Online Bill Payment Agreement for
 writing, and do not receive it within 10 business days, we may not                   information concerning “Pending” and “In Process” trans-
 recredit your Account.                                                               actions.)
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   2. If you call, we may require you Document        509-13
                                      to put your request in writ- Entered    on IfFLSD
                                                                      permission.    you do Docket
                                                                                             NOT tell us05/21/2010          Page
                                                                                                           within two business  days45
                                                                                                                                    afterof
      ing so that it reaches us within 14 days after your call.    49 you learn of the loss or theft of your Card, PIN or code and we can
                                                                            prove we could have stopped the unauthorized transactions if you
     3. You may be charged the current stop payment fee for each            had told us, you could lose as much as $500.00.
        stop payment order you give us.                                        If your statement shows electronic funds transfers that you
     If these regular payments vary in amount, the person you are           did not make, tell us at once. If you do not tell us within 60 days
                                                                            after the statement was mailed to you, you may be liable for trans-
 going to pay will tell you, 10 days before each payment, when it
                                                                            actions posting after the 60 days if we can prove that we could
 will be made and how much it will be. You may choose instead to            have prevented the transactions if you had told us in time.
 get this notice only when the payment would differ by more than               If a good reason (such as a long trip or a hospital stay) kept
 a certain amount from the previous payment, or when the amount             you from telling us, let us know. We will extend the time periods.
 would fall outside certain limits that you set.
     If you order us to stop one of these payments three business           For Business Accounts Only:
 days or more before the transfer is scheduled, and it does not do
                                                                            A. You agree to assist us in the investigation and prosecution of
 so, we will be liable for your losses or damages.                             claims for unauthorized transactions by completing the appro-
                                                                               priate statements and reports reasonably requested by us.
 DISCLOSURE OF ACCOUNT INFORMATION TO                                       B. You agree to notify us promptly in writing of any user of a
 THIRD PARTIES:                                                                Card who is no longer employed by you or authorized to con-
    We may disclose information to third parties about your                    duct business on your behalf.
 account or the transfers you made:                                         C. You agree that by allowing anyone to use your Card, you will
    1. As necessary to complete transactions.                                  be responsible for all authorized and unauthorized transac-
                                                                               tions made through the use of your Card.
    2. In connection with the investigation of any claim you
       initiate.                                                            D. Liability for unauthorized transactions, including electronic
                                                                               funds transfers, shall be governed by Section D of this
    3. To comply with government agency or court orders.                       Agreement, entitled “Account Terms and Conditions”.
    4. In accordance with your written permission.
    5. As otherwise permitted by the terms of the Bank’s Priv-
                                                                            Special Provisions for Card Transactions:
       acy Policy.                                                              If in the event your Card or Card number is lost, stolen, or used
                                                                            without authorization, you are not liable for any unauthorized
     Our Privacy Policy can be found in the back of this booklet and        transactions including transactions made at merchants, over the
 is also available on Chase.com.                                            telephone, at ATMs, or online when you notify the Bank promptly.
                                                                                However, these Special Provisions do not apply and are not
 NOTICE OF YOUR RIGHTS AND LIABILITIES:                                     covered by our Zero Liability policy (in which case the Bank may
                                                                            impose greater liability on the cardholder) when they include
 For Personal Accounts Only:                                                transactions where you were grossly negligent or fraudulent in the
    Tell us AT ONCE if you believe your Card, PIN or code has               handling of the account or Card, where you have given someone
 been lost or stolen. Telephoning us is the best and fastest way of         else your Card, Card number or PIN, or where you delay in report-
 keeping your possible losses to a minimum.                                 ing unauthorized transactions for more than sixty days.
    If you tell us within two business days, you can lose no more
 than $50.00 if someone used your Card, PIN or code without your




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                                                             Docketwill05/21/2010        Page state-
                                                                                                  46 of
 Overdraft Protection Agreement 49 loan         documents.                 appear on the periodic
                                            ments for the applicable Checking Account and the Funding
                                                                               Account. We have no obligation to inform the checking account
  1. Definitions: As used in this Overdraft Protection Agreement,              owner if the status of the Funding Account or actions of the
     the following terms shall have the following meanings:                    Funding Account owner results in the Overdraft Protection
                                                                               being unavailable.
    “You” or “your” means the person(s) or entity who has
    requested Overdraft Protection or Business Overdraft                    4. Maximum Overdraft Protection Amount: The maximum
    Protection (“Request”). “Overdraft Protection” means the                   amount of a Transfer (“Maximum Transfer”) will be the col-
    automated funds transfer service established pursuant to the               lected balance in the Savings Account, the available credit
    Request and this Agreement. “Funding Account” means the                    under the Credit Card Account or the available credit under the
    account from which Overdraft Protection transfers are made.                Line of Credit Account at the time of a Request as applicable.
    “Checking Account(s)” means one or more personal checking                  In no event shall a Transfer exceed the Maximum Transfer. If
    accounts for which Overdraft Protection is requested or one or             the amount of the Transfer calculated in paragraph three
    more Business checking accounts for which Business                         above exceeds the Maximum Transfer, then notwithstanding
    Overdraft Protection is requested, as designated on the                    the provisions of paragraph three, the Transfer will be an
    Request for Overdraft Protection.                                          amount equal to cover the amount overdrawn (which includes
                                                                               the Transfer Fee) for those checks or other customer initiated
  2. Overdraft Protection Request: The Request must specify the                transactions paid as a result of the Transfer.
     Checking Account(s) and a single Funding Account. For per-
     sonal accounts, the Funding Account may be a personal sav-             5. Fees: For each day on which a Transfer occurs, a transfer fee
     ings account at the Bank (“Savings Account”), a qualifying                of $10.00 will be charged to each Checking Account that re-
     credit card account at Chase Bank USA, N.A. (“Credit Card                 ceives a Transfer (waived for Chase Premier Platinum Check-
     Account”), a Home Equity Line of Credit at the Bank (“Line of             ing and Private Client Asset Management Accounts).
     Credit Account”), or a Prestige Line of Credit at the Bank             6. Limits On Savings Account Transfers: If the Funding Account
     (“Line of Credit Account”). For business accounts, the Funding            is a Savings Account, Transfers from the Savings Account are
     Account may be a Business savings account at the Bank                     considered “preauthorized transfers.” The number of such
     (“Savings Account”), a credit card at Chase Bank USA, N.A.                Transfers that may be made during each month or each state-
     (“Credit Card”) or a Business Line of Credit at the Bank (“Line           ment cycle is limited in accordance with federal regulations
     of Credit Account”) or Business Overdraft Line of Credit at the           and our Account Agreement for deposit accounts.
     Bank (“Overdraft Line of Credit Account”). Overdraft Protection
     will become effective after the Bank has received your Request         7. Termination Of Overdraft Protection By The Bank: We may
     and had a reasonable time to act upon it.                                 terminate Overdraft Protection for a Checking Account at any
                                                                               time upon sending written notice to the last address for the
  3. Activation: Whenever checks or other customer initiated                   Checking Account shown on our records. If the Funding Ac-
     transactions are drawn on a Checking Account which, if paid,              count is closed or blocked for usage, Overdraft Protection will
     would cause the Checking Account to become overdrawn, such                not be available. If a Checking Account is closed or blocked for
     event will constitute a transfer request under this Agreement             usage, Overdraft Protection for that Checking Account will not
     and we will initiate a transfer (“Transfer”) from the Funding             be available.
     Account to the Checking Account in multiples of $50.00                 8. Termination Of Card Privileges: We may terminate or block
     (which includes the Transfer Fee) sufficient to pay those                 the use of a Card with access to a Checking Account when, at
     checks or other customer initiated transactions drawn on the              our discretion, we reasonably believe that there is unusual
     Checking Account. If the Funding Account is a Credit Card                 Overdraft Protection activity for that Checking Account.
     Account, Transfers will be charged to the Credit Card Account
     under the terms disclosed in your credit card Cardmember               9. Termination Of Overdraft Protection By Customers: The
     Agreement for personal or your Business Credit Card                       owner of a Checking Account or a Funding Account may can-
     Cardmember Agreement for business customers. If the                       cel Overdraft Protection for that Checking Account by
     Funding Account is a Line of Credit Account or Overdraft Line             requesting the cancellation in person at a branch or by deliv-
     of Credit Account, Transfers will be charged to the Line of               ering to us written notice of cancellation. Any cancellation
     Credit Account or Overdraft Line of Credit Account, under the             under this paragraph nine will be effective after we have
     terms disclosed in your Home Equity or Prestige agreement, or             received notice of such cancellation and had a reasonable time
     Business Line of Credit or Business Overdraft Line of Credit              to act upon it.
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 10. Amendment:   We may at any timeDocument          509-13
                                        change the terms   of this Entered    on FLSD
                                                                      Q| Is information   Docket
                                                                                        about      05/21/2010
                                                                                              me shared              Pageof 47
                                                                                                        within your family  com-of
     Agreement, including but not limited to the fees set forth in 49 panies?
     paragraph five above, by giving at least 30 days’ prior written         A | Yes. We may share information about you within our family as
     notice of such change to an owner of each of the Checking               required or permitted by law. This helps us to offer you financial
     Account(s).                                                             products and services, such as loans, deposits, investments, cred-
 11. Transfer Requests For Multiple Checking Accounts: If trans-             it cards and insurance.
     fer requests occur with respect to more than one of the Check-
     ing Account(s) on the same day, we shall have sole discretion           Q| Is information about me shared with service providers and
     in determining the order in which such transfer requests are            financial companies outside your family of companies?
     processed.                                                              A | Yes, as permitted by law. We may share information about you
 12. General Provisions: This Agreement is binding on the owner              with outside companies that work for us. These may include firms
     of the Checking Account(s) and the Funding Account.                     that assist in marketing our products. We may also share informa-
                                                                             tion about you with outside financial companies that have joint
                                                                             marketing agreements with us. These arrangements give you the
                                                                             opportunity to receive additional products or services.
              Chase Privacy Policy                                           Q| Is information about me shared with non-financial compa-
 This Policy explains what Chase does to keep information about              nies outside your family of companies?
 you private and secure. We want you to know how we manage                   A | Yes. We may share information about you with companies out-
 that information to serve you and that you have choices about               side of our family as permitted by law, including retailers, auto
 how it is shared. This Policy covers our family of companies, a             dealers, auto makers, direct marketers, membership clubs and
 partial list of which is contained at the end of this Policy. Please        publishers.
 read this Policy carefully.
                                                                             Q| Is information about me shared in any other ways?
 Q| What information do you have about me?
                                                                             A | Yes. We may also share information about you in other ways,
 A | To provide services and to help meet your needs, we collect             as required or permitted by law. Here are some examples of ways
 information about you from various sources.                                 that we share information.
    • We get information from your requests for our products or                 • To protect against fraud.
       services. One example is income on loan applications.
     • We get information about your transactions with us and                   • To respond to a subpoena.
       with others. For example, we have your account balance                   • To service your account.
       information.                                                             • To report to a credit bureau.
     • We get information, such as your credit history, from credit             • With your consent.
       bureaus.                                                              Q| What choices do I have about information sharing?
 Q| How do you safeguard information about me?
                                                                             A | We offer you the following two choices about sharing informa-
 A | We take a number of steps to protect the privacy of informa-            tion that identifies you:
 tion about you. Here are some examples:
                                                                             • Choice #1. You may tell us not to share information about you
    • We keep information under physical, electronic or proced-                 with non-financial companies outside of our family of compa-
        ural controls that comply with or exceed governmental                   nies. Even if you do tell us not to share, we may do so as
        standards.                                                              required or permitted by law. Also, if you have authorized us to
    •   We authorize our employees, agents and contractors to get               share information in connection with a particular product or
        information about you only when they need it to do their                service, we will continue to share information about you in con-
        work for us.                                                            nection with that product or service. For example, you might
    •   We require companies working for us to protect informa-                 have a credit card with one of our airline, retail or university part-
        tion. They agree to use it only to provide the services we              ners that offers rewards programs.
        ask them to perform for us.                                                                              and

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                                                                            Notice      DocketResidents.
                                                                                   for California  05/21/2010 Page 48 of
   •       #2. You may tell us not to share the following infor-
                                                                 49
     mation about you within our family of companies:               In order to comply with California law, the following applies if
       • Information from your applications to be used to deter-                your account has a California mailing address.
         mine your eligibility, such as your income.                              • Even if you do not make privacy choice #1 listed above, we
       • Information from consumer credit reports, such as your                      will not share information that we have about you with non-
         credit history.                                                             financial companies outside our family of companies, unless
       • Information from sources used to verify information you                     otherwise permitted by law.
         provide us, such as outstanding loans or employment
         history.
                                                                                  • We will not share information about you within, or with
                                                                                     financial companies outside, our family of companies unless
    Even if you do tell us not to share, we may share other types                    we first provide you with further privacy choices or unless
    of information within our family. For example, we may share                      otherwise permitted by law.
    name and address, information about transactions or balances
    with us, as well as survey results.                                         Q| Who is covered by this Policy?
 Q| How do I tell you about my privacy choices?                                 A | This Policy covers the JPMorgan Chase & Co. family of compa-
 A | You may contact us by:                                                     nies. The following is a partial list of its U.S. consumer finan-
                                                                                cial services companies.
     • calling us toll-free at 1-888-868-8618, or
     • for hearing impaired assistance, dialing 7-1-1, then                        •   JPMorgan Chase Bank, N.A.
       1-888-868-8618 and wait for operator assistance, or                         •   JPMorgan Insurance Agency, Inc.
     • writing us at P. O. Box 260185, Baton Rouge,                                •   J.P. Morgan Trust Company, N.A.
       LA 70826-0185
                                                                                   •   Chase Bank USA, N.A.
    You do not need to contact us unless you want to make one
    of the privacy choices listed above. If you are a current cus-
                                                                                   •   Chase Auto Finance Corp.
    tomer, you do not need to contact us unless you want to                        •   Chase Home Finance, LLC
    change a choice you previously indicated to us.                                •   Chase Investment Services Corp.
                                                                                   •   Chase Insurance Agency, Inc.
 Q| What about joint accounts?
                                                                                   •   Bank One Trust Company, N.A.
 A| Each person may separately make privacy choices, and joint
 account holders may make privacy choices for each other. If only                  •   Banc One Securities Corporation
 one joint account holder makes a privacy choice, information                      •   Banc One Acceptance Corp.
 about the other joint account holder may be shared.
                                                                                   •   Bank One Education Finance Corporation
 Q| How do you tell me about your Policy?
                                                                                This Policy applies to current and former personal customers.
 A| We send our Policy to you when you open a new account. We
                                                                                Separate policies may apply to customers of certain businesses,
 also send it to current customers yearly. We may change our
                                                                                such as Private Banking or Insurance. In addition, customers in
 Policy. We will send you a new policy if we broaden our informa-
                                                                                certain states may also receive policies that apply to them. The
 tion sharing practices about you. Our Policy is available at
                                                                                privacy policies posted on our websites apply when you use those
 Chase.com/privacy.
                                                                                sites. In addition, our online personal information practices are at
                                                                                Chase.com/privacy.
 Special Notice for Vermont Residents.
 In order to comply with Vermont law, we will automatically treat
 accounts with Vermont mailing addresses as if you have made both
 of the privacy choices listed above. In addition, if we disclose infor-
 mation about you to other financial institutions with which we
 have joint marketing agreements, we will only disclose your name,
 contact information and information about your transactions.


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